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                                                                     SIRIUS           SOLUTIONS




                            TN T}XE  UNITED STATES DISTRICT COURT
                            FOR.   TIIE trAST'EIIN ÐIS'IRICT OF TEXAS
                                       tsT]AUMON I}TVISTON

I.]NION OIL COMPANY OF
CALIFORNIA,




                       v.
                                                            Civil Action Number 10-CV-195
BIJFFALO MARINE SERVICE, It"{C.;
TORM .A/S; TORM USA LLC; TORM
SINGAPORE PTE. LTD.; TORM INDIA
PII.IVATE LTD.; ESTRID SHIPPING
CORPORATION; A/S DiS TORM; MR
MAN.A.GEMENT IfS; and the MA/ TORM
I\4,4[tV, her engines, faekie, etluiprnent, ctc.
(in rem),
                                      Defendants.




                                                             Expert f,{.eport of


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                                                             Ðavid B. [,erman
United States of America

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                                                             March      21,,2{111.L
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I{ote fo thc Reacler:

'lhis report contains confidential information from UNION OIL COMPANY OF
CALIF-OIINIA. llie reaclet is responsible firr ensuring they have tlie pt'oper
confidentiality agreements in place to review this information. Otherwise, please
return all copies of this report to:

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     '!   tntnoduation
 1   Llnion Oil Cornpany of Califomia ("UNOCAL"), through its counsel, Strong Pipkin Bissell and

 2   Ledyard L.L.P. retained Sirius Solutions L.L.L.P. ("Sirius") and me to analyze and determine the

 J   Iost profits at IJI\OCAL's hydrocarbons terminal ("Terminai") in Beaumont Texas that were

 4   incurred because of an oil spill on the Neches River in August 2004. The Terminal is one of the

 5   types of facilities that participate in and suppoú the crude oil refining and petrochemical

 6   indusiries in the United States Gulf Coast.



     2    Summary of Opinions
 7   Based on my analysis of the receipts and shipments at the Terminal, the dock was a critical

 B   component of its daiiy operations. During 2003 and 2004 time period, nearly the equivalent         of
 9   the Terminal's entire daily volume passed over the dock in one direction or anotirer since 801-%

10   of tlre receipts came by the dock and roughly      20+%io   of its shipments went out over the dock. As

11   a result of the   oil spill on the Neches River, the Terminal lost the use of its most critical

12   transportation mode and was severely handicapped until the resumption of normal operations on

13   the Neches River, at the Terminal and by the Terminal's customers. I examined fwo scenarios, a

14   Scenario   I   and a Scenario 2, to explore possible values of the Terminal's lost profits. My

l5   opinion is that the Terminal's lost profits were $733,000.


     3    lnfor¡mationeonsidered
t6   Allaohment A appended to this lepoft contains the list of information considered in this report.

t7   In adclition, I interviewed the following people at TINOCAL:
                                                                                                                  4r
                                                                                                  SIRIUS          SOLUTIONS




              @   Jan Tomlinson      -
                                  Supervisor Tenninal Accounting
             "o   Adam Higginbotham - Operations Superuisor
                  Nita McGowin - Oil Movements Scheduler
              ø   Marlç Maxwell - Customer Service Representative
              o   Terry Basham - Safèty Specialist

         4    Refining lndustry Overview
     I   The crude oil refining industry upgrades crude oil into refined petroleum products such as

 2       gasoline, diesel, jet fuel, kerosene, heating oil, lubricants, waxes, liquefied petroleum gases,

 J       petroleum coke, asphalt, etc. and produces petrochemical fecdstocks. Within the US refining

 4       industry, the United States Gulf Coast ("USGC") refrning capacity is larger than the refining

 5       capacity in any other area of the United States. Refineries in the USGC consume more crude oil

 6       than any other alea of the US and produce petroleum products not only for consumption within

 7       the USGC, but also for the Midwest IJS and fbr the United States East Coast ("[JSEC"), The

 o
 Ò       USCIC refining capacity is the largcst supplíer of petroleum products to the US. The Terminal is

 I       one of the facilities that play a critical role in the supply chain for the crude oil refining and

l0       related industries.


ll       Based orì my experience working within the refìning industry               it is a seasonal industry. In

t2       addition, according to the Unitecl States Depaltment of Energy ("DOE"):r

              There are seasonal patterns in refinery input. In the Urrited States, refinery runs mirror the
              overall demand for products -- lower in the colder months and higher in the warmer months,
              In addition, as they move out of the gasoline season in the early autumn and then as they
              move into the next gasoline season in the late winter, refiners routinely perform
              maintenancc. The duration ar,d depth of the cutback in refining activity during eaclr
              maintenance season is affbctecl by a variety of factors, including the relative strength of the
              market for refined products. Tlierefbre, when stocks are high and demand slack, the refinery

         rhttp://www.eia.cloe.gov/pub/oil-gas/petloleunr/analysis
                                                                    publications/oil -rnalket-basics/refining text.htm
                                                                                                     SIRIUS           SOLUTIONS




                   maintenance season is likely to be longer and deeper. Refinery activity will also respond to
                   the market's need (and hence relafive prices) ftrr product, with ohanges in the level of crude
                   oil throughput as well as emphasis on one ploduct over another.

I   An easy way to visualize the seasonal patlerns is to examine the US gasoline supply. Gasoline is

2   one of the largest refined petroleum products by volume in the US. As shown in Figure                               I below,

3   US gasoline supplies peaked in the months of May to August and fell significantly starting at the

4   beginning of the month of September, which marks the end of the summer driving season.



                                                             US   Supplied Gasolines
                         9,500

                         9,400
                                  --     2002
                         9,300    ---    2003

                         9,200

                         9,100
                                  -2004
                   tr
                   å     9,000
                   CJ
                   è g.goo
                   õ
                   u     8,800
                   6
                   cÒ

                   þ     e,zoo
                   ict
                   c     a.600
                   o
                   f,
                   o     8.500
                   r-
                         8,400
                                     I
                         8,300

                         8,200

                         8,100


                         8,000
    i                            January February March   April   MaV   June   July    August September Oclober November December
    ii'-'-----'l                                                          Month                                                     i
                                                                                                                                    i

    i*.*____.-___._._l
    Figurc 1: US Gasoline Sup¡rly 2002-2004. Source: DOE
                                                                                                    '!!
                                                                                   SIRIUS           SOLUTIONS




 I   Figure 2 below expands on the information in Figure I to ir,clude all refÌned petroleum products

 2   supplied. There are two things to note from Figure 2. Irirst, Figure 2 shows the same seasonality

 3   that Figure   I   demonstrates, but is partially muted by the addition of other petroleum products,

 4   including proclucts that are produced in the winter months such      as heating oi1. For   all three years

 5   shown, the summer months were higher than the winter months. ln addition, there was a

 6   noticeable drop in volume per day in September of each year, which marked the end of the

 7   summer driving season.


 o
 o   'Ihe second item is that volumes per day in2004 are noticeably larger than the volumes per day

9    in 2002 and 2003. This infbrmation indicates that refining industry participants were having a

10   better year in 2004 in terms of volume than in the previous two years.
                                                                                                                                 SIRIUS
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    I                                  U.S. Product Supplied of Finished Petroleum Products
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        3        17,ooo


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                          Januãry Februåry    N4arch               May            lune       July                                 October November December
                                                                                    Month

    Figure 2: us peiroiòüm"nroäiiËt"5u[priôä. Säi¡i..i ooË
                                                                                         *
1   Figure 3 below prçsents the price of crude oil fi'om the NYMEX futures exchange for the prompt

2   month (trearest month) from January 2002 through December 2004. As can be seen in the figure,

3   crude pricos itt 2004 were significantly highel than in the priol two years. This also coirrcided

4   wifh an increase in the volumes of petroieurn products delivered in the US                                                         as shown        in Figure 2.
                                                                                                 4,
                                                                                 SIRIUS          SOLUTIONS




    I
    I
                                            CrudePnices {NYMEX}


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    Figure 3: NYMEX l'utures Price for Crude Oil


    5        ï.JNOCAL's "l-enminal Ovenview

    5.1 Description
I   [n2004, LTNOCAL owned and operated          a   tenninal ("Terminal") on the Neches River. The

2   Terminal operated much like    a   toll bridge. The Terminal generated revenue by having customers

3   pay to have the custoiner's i'natelials pass tlirough and utilize the Terminal's receiving, shipping

4   ancl storage capabilities. These materials were crude    oil and other hydrocarbon commodities    used

5   and producecl in the crude oil ref,rning and petrochemical industries. Therefore, the performance
                                                                                    SIRIUS         $OLUTIONS




 1   of the Tel'minal was interdependent on the perfbrmance of the refining and petrochemical

 2   industries.


 3   Until Chevron's acquisition of IINOCAL in 2005, LINOCAL did not operate the Terrninal for its

 4   own materials. UNOCAL did not take title to any materials received, shipped or store<l at the

 5   Terminal. I-INOCAL only handled thircl party materials and operated as a merchant terminaÌ. As

 6   a merchant terminal, the Terminal    only provided receiving, shipping and storage services at the

 7   Terminal location. Third party customers     hacl   title to the materials and were responsible for the

 B   acquisition ot sale of materials, arranging and paying for transportation to or fiom the Terminal

 9   and paying any taxes or duties owed, etc.


10   'l'hird party customers utilized the llerminal because it had the capability to receive materials by

11   ship, barge, pipeline, tanker truck ancl rail and had the capability to ship the thiril party's

12   materials by ship, barge, pipeline, tanker truck and rail as depicted in Figure 4 below. Customers

13   were responsible for providing the Terminal with instructions that contain the date of the receipt

14   or shipment of tnaterials, the type and quantity of material, the transportation mode and name       of
15   the carrier, inspection instructions, etc. The lead-time provided to the Terminal can range fiom

16   30 minutes to several weeks or longer clepencling on the parlicular situation. In many iustances,

t7   customer instructions were not firm service orders to the Terminal since customers can sell or

1B   purchase a cargo of materials during transit and/or change the final destination during transit.

19   Instead, customer instructions were like dinner reservations at a restaurant. The reservation
                                                                                          SIRIUS         SOLUTIONS




 1    becomes an actual business transaction when the customer showed up for dinner, but the

 2,   customer was not obligated to keep the reservation"


 3    The reason that customers can sometimes provide lead-times of several week or longer is that

 4    customers oÍten have to make transpoftation and logistics decisions ahead of time in order to

 5    secure the carrier, transit of the commodity fiom the departure location to the arrival location and

 6    make a reservation at the ierminal. This means a disruption in one month can affect logistical

      decisions for the next month.


 B    Exhibit I to this repoú contains the volume data for 2003 and 2004. As shown in Figure 4, the

 9    f'erminal received B1% of its receipts (inbound) via the dock in 2003.         Þ-igure 4 also shows that

10    tire Terminal shipped ZlVo of its shipments (outbound) via the dock in 2003. The 2004 data in

11    Exlrilrit 1 shows that the Terminal's doclc reoeived B5% of the receipts and made 24o^ of the

12    shipments. Thel'efbre. the dock, and its access to the Neches River was            a verv significant

13    tlansportølion rnode for   the.   Terminal's dailv business. Without the   r,r$e   of the clqck. the TerminAl

14.   was severelv handicappecl to service its customel's.
                                                                                                           SIRIUS1,,    SOLUTIONS




                                                                        o--ver   the Doçk
                                                                        81% of Receipts
                                               Receipls   Shipments     21% of Shipments
                                               69.t7y




                                                                                             Re   ce¡Þts    Shioments
                                                                                             72.760/6        15,37%




                                                                      Rece¡       Shipme nts
                                                                      2.45%        o.r50/"




    F   igure 4:   2001J   Volume Activities

I   'Ihe Tenninal's dock location is of strategic ilrrpoftance to its business because the dock provides

2   the Tenninal with access to the world crude oil and hydrocarbons markets. Furthermore, the

J   USGC location provides the Terminal with the ability to connect one of the world's largest

4   refining and petrochemical complexes, the USGC, with the global hydrocarbons market.


5   Table I below further examines the materials received at the dock and shows that in 2003 and

6   2004,900Á of the Terininal's dock receipts were for crude oil and naphtha based on volume,

7   Naphtha is a gasoline boiling range material that refiners and petrocliemicals trade to eiiher'

B   fulther refine and blend into gasoline or use            as a fbedstock      for petrochemicals.
                                                                                     SIRIUS   SOLUTIONS




Table 1: 2003 and 2004 Dock Activity
                                          2003                    2004
                                         Bbls           %          Bbls         /o
 Crude                              62,768,538    82.84%     54,468,441    7635%
 Cyclohexa ne                         198,977 0.26%             343,748     o.48%
 GBS/Alkylate                         841,155 t.It%            308,040      o.43%
 GBS/Reformate                        2L1_,468     0.28%       25r,6t3      o35%
 GBS/Tol-Xyl Mix                       20,296      0.O3%              0     o.o0%
 Methanol                            2,90s,599     3.83%      2,823,6t6     3s6%
 Naphtha                             6,s88,71,6    8.70%      9,505,926    1,3.32%
 Aviation Gasoline 100   LL            45,842      0.06%       I27,285      0.tB%
 GBS/CAT 12 Naphtha                        0       0.00%       1O7 p79      o15%
 Mixed Xylene                         996,667      7.32%      1,351,537     7.89%
 Xylene                               624,188      0.82%       67O,827      0.94%
 Recovered Oil                          4,936      o,OL%           835      o.o0%
 Light Cycle Oil                      139,11_r-    o.tg%       890,700      1,.2s%
 GBS/FCC Gasoline                     358,934      0.47%              0     0.00%
 Consol 145                            10,139      0.O70/o            n     o.00%
 G   BS/Raffinate                      57,754      0.07%              0     o.oo%
 Natural Gasoline                         0        0.00%       233,241,     O.33/o
 Raw Kerosene                             0        0.00%          2,309     0.00%
 GBS/MTBE                                 0        0.00%         52,779     0.07%
 Conosol C-l-70                           o        0.o0%         7,689      o.0r%
 cflS/FCC Light CAr Naphtha               0        0.00%       130,646      0.t8%
 c-340                                    o        0.00%          9,051     o.o7%
 GBS/CAT Gas                              0        0.00%         58,514     0.08%
 Total                              75,766,3L4   L00.00%     7L,344,776   100.00%

'Table 2 shows that the Terminal's top three customers at the dock were ExxonMobil R.efìning

and Supply, Citgo Petroleum Corp, and Lion Oil.


Table 2: Percentage of Customers at the Dock
                                         2003       2004
                                           o/
                                           /o           o/
                                                        to
 Exx<lnMobil Refining & Supply         63.79%     5t.87%
 Lion Oil T&T, lnc.                     7.9r%      7.30%
 Chevron Phillips Chemical Co.          0.26%      0,48%
 Koch Supply & Trading LP               3.54%      7.OB%
 Huntsman lnternational Fuel            3.83%      4.03%
 Mobil Oil Corp.                        0.00%      0.00%
 Texaco Aviation Products     LLC       0.00%      0.00%
 Citgo Petroleum Corp.                 13.04%     11.70%




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                                              2003       2AO4
                                                 ot         ot

      Williams Energy Services               0.00%      0.00%
      FxxonMobil Chemical Company            1..32%     L89%
      Atofin a Petrochemicals, lnc.          o.82%      0.60%
      El Paso   Merchant Energy              0.02%      0.00%
      UBT                                    o.01%      o.o0%
      Coastal States Trading, lnc.           0.00%      0.o0%
      BASF Fina Petrochemicals               o.B7%      0.00%
      Valero Marketing & Supply Co.          2.r3%      3.20%
      Shell Oil Products U,S.                0.06%      0J,8%
      Shell Trading US Company               2.44%      4.Lr%
      Penreco                                o.ot%      0.o2%
      Glencore Ltd.                          0.oo%      o34%
      Plains Marketing, L.P.                 0.00%      2.85%
      BP   Products North America            o.oo%      3.66%
      SemCrude, L.P.                         o.00%      o.o5%
      Cameron Highway Oil                    0,o0%      0.29%
      Total Petrochemicals USA               o.oo.:/o   0.34%
      Total                                L00.00%    to0.o0%



I    llxliibii I   also shows tllat fi:r any given ínonth, material shiprnents outbor¡nd did not equal

2    matelial receipts inbound. Because the Terllinal also had onsite tankage, customers can build

-1   and draw down inventory as desired. I-Ience, in the shofi-run, shipments did not equal receipts.

4    Because shipments can include inventory changes, I use the receipt volumetric data as the

5    measure of the Terminal's activities.



     5.2 Aperational Çosfs
     Financial experts generally define costs as fixed costs and        as variable costs.   'Ihe l-itigation

     Services Handboolc: the Role of the Financial Expert defines fixed costs as: "An expendituïe or

     expense that does not vary with volurne of activity, at least in the short run."2 Examples of a




     'LITtGatloN       SERVICES IIANDBoOK: The Rolc of thc Financial lJxperr, 3'd cdirion, Glossary




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 1   fixed costs include rent, insurance, rnanagement salaries, property taxes, aclvertising costs, etc.

 2   The Litigation Services Handbook: the RoIe of the |iinancial Expert defines variable costs as:

 3   "Component of a business's cost that increases as sales, or production volume (depending on

 4   context) increases."3 Examples of variable costs include raw malerial costs, catalysts, chemicals,

 5   packaging costs, product transporlation costs, utility costs etc.


 6   Based on my discussions with Terminal personnel and rny examination of the income statement

 7   accounts for years 2003 and 2004, the Terminal did not incur any variable costs associated with

 B   the receipt or shipment of   materials.4 IINOCAL staffbd the Terminal 24 hours a day, seven

 9   days a week regardless of the shiprnent and receipt schedules. According to Adam

l0   i{igginbotham, the facility did not schedule personnel based on expected receipts and shipments.

t1   Over thc years, the Terminal staffing policy has becn to staff 4 or 5 operators and a shiÍt fbrernan

12   for cach l2-hour shiÍï. Therefore, labor was not a variable cost but a fixed cost.


13   The Terminal did not consume any variable raw materials, catalysts, or chemicals in its

14   operations that vary with its activities. I expected this situation since the Terminal did not

15   conduct any refrning, processing or upgrading of the materials it received and stored.


16   Lastly, the Terminal did not consume any rneasureable incremental energy that was considered a

17   variable cost. Any incremental erlergy requirements were likely to be inconsequential rclative to

1B   its baseloacl requirements since the baseload inclucles the pumps and equiprnent to maintain



     'IBID
     a
      Chevron/Unocal 361-371, Chevlon/Unocal 408-4I6




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                                                                                               cltaltre        4/\l   trlÌ^Àre
                                                                                                          ¡)




 I   tanks, transfer materials between tanks, operale lights, sensors, heating and air conditioning, etc.

 2   Fulthennore, the facility was not metered to ureasure any incremental enorgy requirements above

 5   its baseload requirements. Therefore, there were no variable energy costs at the Terminal.


 4   As a result, the Terminal did not incur variable operating costs. Rather, the Terminal had only

 5   fixed costs that did not vary with the volume of materials received or shipped.


     6       The     OiN   $pill on The-Neches River
 6   The incident tl-rat gives rise to IINOCAL's lost profits was business interruption that rcsulted

 7   {ì'om the oil spill that occured on the Neches River in August 2004. According to the United

 B   States Coast Guard ("USCG"), on August 2,2004, an                  oil spill occurred on the Neches River

 I   when a barge, the Buffalo barge 405, struck and rr:ptured fhe starboard fuel tank of the tanker

IU   'I'orm Mary.s The USCG rcportccl that the spill involve d25,2t0 gallons of oil and soilecl ror-rghly

11   2B miles of shoreline.6



     7 Generally Accepted Methodologies for fuTeasuning Lost
             Froflts
12   As discussed inthe Introduction, my assignment is to oonduot an analysis and make a

13   detennination of the lost profrts incul'red at the Terrninal because of the oil spill on the Neches

14   River in August 2004. In this section, I provide the generally accepted definitions and

i5   methodologies used to estilnate lost profits.




     5
         U.S. Depaltrncnt of Flornelancl Seculity United States Coast Guarcl Press Releasc, August 2,2004
     u
         [J.S. Dcparlrnent of I'lorneland Secur-ity United States Coast Guarcl P|ess Release, August 11,2004




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                                                                                       SIRIUS          SOLUTIONS




    7"1 Losf Prafits Defined
    The Litigation Services Handboolc: the Role of the Financial Expert defìnes lost profits as:

          (a) Measurement of Lost Profits. V/hethel the plaintiff has identifred the cause of action as
              breach of contract, copyright or patent infringement, or violation of antitrust laws,
              damages usualiy equal the difference between the prohis that the plaintiff would have
              realized but for the defendant's actions and the plaintiffs actual profìts. Put differently,
               the genelal damages measure equals incremental sales (or revenries) less incremental
               costs.T


    Figure 5 below presents the measurement of lost profits in glaphical forrn:

                       Scenario
                  But-For              Actual Scenario                                          Lost Profìts
               Revenue or Sales        Revenue or Sales                                         But-For Profits
        Less Variable Costs     Less Variable Costs                                  Less       Actual Profits
        Equals But-For Profits  Equals Actual Profits                                Ëquals     Lost Profits

    Figure 5: Lost Profits Definition


3   Because the Terminal operated without any variable costs, Figure 5 sirnplifies dowu to liigLrLe 6

4   below that presents two equivalent forms flbr calculating lost profits. I use the latcr fbrrn in this

5   report to calculate lost profits.


               But ForRevenues        But-For Volume
        Less   Actual Revenues Less Actual Volume
               Lost Profits    Equals Lost Volume
                               Times Revenue / Bbl
                                                Equals      Lost Profits
    F'igure 6: A.lternative for¡ns for   tr   ost Profits Calculation




    7
        LITIcntloN   SERVICES I-IANDBooK: the Rolc of the Financial Expert, 3'd Eclition, Page 3.8




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     7.2 Measuring the Losf Prafits
 1   Of the four generally acccpted methods for mcasuring lost profits, i employ the Forecast Sales

)    methocl to estimate UNOCAL's lost profits.s I did not use the Before and Afler method because

 J   the   oil spill on the Neches River occurred right befcre a transition periocl between                 seasons.


4    Therefbre, any difference in sales would confouncl the impact of the oil spill orr the Neches River

 5   with seasonality. In addition, I did not use either the Yardstick or Market Share methods because

 6   they lack the precision needed to estimate the lost profits or lost sales in this matter'. The oil spill

     on the Neches River only impacterl a single facility in TINOCAL's global operations and

 B   industry based measures such as an industry index or market share are too imprecise to measure

 9   the impact to a single facility in a global company over a relatively short period of time.



     ffi    $*æst Fnsf$ts Åmaüysüs

     8.1 Ãpproach
10   In my analysis of UNOCAL's lost profits, I estilnate two scenarios, a Scenario                       I and a Scenario

ll   2, to explore estimates for tl,e actual lost profits. The differences between the two scenarios are

r2   the assumptions used to forecast the volumes of materials that the Termiual lost because of the

13   oil spill on the Neches River. I then make a determination of the Terminal's lost profits based on

l4   the Scenario    I and Scenario    2 results.



     8,2 Historical Recefpfs
l5   Figure 7 below shows the Terminal's monthly receipt for 2003 and 2004 in terms of barrels.

l0   V/ith the exception of January 2004 and Aplil 2004, the'lerminal was receiving volumes in 2004

     I Litigation Selices Llandbook: tlie Role of the Financial Expert,3'd Edition, I'age 3.8
                                                                                                -   3.9




                                                                                                                             15
                                                                                                 SIRIUS        SOLU'TIONS




     I   that were greater than the volumes received until the oil spill on the Neches River. Since the

 2       majority of the Terminal's receipts are for crude oil (see Table            l)   and the doclc handles the

 J       majority of the receipts (see Figure 4), Exhibit 2 presents the crude oil receipts at the doclc              fcrr


 4       2003 and2004 by morrth by customer. ExxonMobil, Citgo and Lion were the three largest

 5       custorners by volume.


 6       The difference between the January 2003 and January 2004 receipts may be attributable to the

 7       fact that refiners perform maintenance in the winter at periodic intervals. For example, rnost

 B       process units only undergo turnaround maintenance every 3-5 years. Both ExxonMobil and

 9       Citgo had significant reductions in their crude oil receipts in January 2004. hr adclition, the April

l0       2004 lower dock activìty can be partially explained by the fact that ExxonMobil, the Tenninal's

ìI       largest custorner, had some operational issues. First, its Beaurnont 360,000 barrel per day

t2       refinery had an outage.e Second, its Baytown naphtha processing unit caught fire.r0 Both the

l3       Beaumont refinery and the Baytown chemical plant are proximately located near the Terminal

t4       and Exhibit 2 shows that ExxonMobil had significant reduction in crude receipts in                 April 2004

15       compared to       April 2003.


16       During the three months prior to the oil spill on the Neches River, the Terminal was receiving on

17       average 24,078 barrels per day mol'e rnaterials than received in the same time period in 2003.

IB       After the oil spill on the Neches River, receipt rates in August 2004 and September 2004 fall to

19       levels below the leceipts observed in the same months in 2003.

         e
             Refning Nett:acks:  Outage,s Buoy Margins, Oil Market Intelligence, April 2004
         tu
              ]¡ire Doused at Baytown Chentical Planf, Houston Chronicle, April 1,2004




                                                                                                                             l6
                                                                                                         SIRIUS
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    I

                                               UÂJOCAI- Receipts {Ëxcluding Transfers}
    I         ro,ooo,ooo



               9,500,000



               9,000,000



              8,500,000



              8,000,000

        I
         o
         t6   7,s00,000
        cO




              ,,....,      l__--___                _V_-                _   __ :_
    i         ,.ooo.ooo I       -" -
    I

    I                       --
                            January    Februðry N4arch April     May   June    luly   Àugust Scptember   Oclober

    I
    I

                                                                           Month

    Irigure 7: Monthly Receipt Rates for 2t03             8¿   2004



    8.3       Reven¿¡e            ín 2t04
I   Table 3 below presents the T'erminal's revenue in 2003 and2004. The Teuninalwas receiving

2   1l.5% rnore revenue per barrel in2004 than in 2003. This coincides with Figure 3 that showed                               a


J   significant increase in the price of crude oil in 2004 and crude oil is a starting raw material lor                       al1


4   refined petroleum products and petrochemical fbedstocks.




                                                                                                                               T1
                                                                                    ôrDtrrê         Õ^t   ttlt^ÀtF




    Table 3; Terminal's Revenues in 2003 & 20t4
                                                               2003               2004
     Revenue                                            $70,71L,457       $22,82L,391,
     Volume Receipts (excluding         Transfer) 89,310,005               83,466,31'6
     Revenue per     Bbl                            50.2326                    50.2734

    8.4 Scenario I
1   In Scenario 1, I assume that the volume of materials the Terminal received in Augr.rst 2004

2   would have been at least equal to the volume the Terminal received in August 2003, excluding

J   internal transfer rnovernents between tanks. Based on the industry data presented in Figure 2 that

4   indicates that refìned petroleum product volumes in2004 are larger than in 2003, this assumptiou

5   is likely an underestimale of the Terminai's actual lost volumes in August 2004.


6   Table 4 presents the calculation of the lost revenues uncler the Scenario      I assumptions.     ln this

7   scenario, tlie Tenninal loss is     5461,233. As     cliscussed in 5.2 Opera¡ional Costs,   tÌrc'lcrminal

B   has no variable operating costs. Therefore, the Terminal's lost revenues equal lost profits.


    I'able 4: Scenario I Lost Profits Calculation
     Scenario L
     2003 August Net Receipts [Êxhibit   1]             7,857,250     A

     2004 August Net Receipts [Exhibit   1.]            6,170,357     B

     Lost Volume   [A-B]                                J",686,899    C



     2004   Revenue                                 522,821.,390.93   D

     2004 Net Receipt Volume [Exhibit   L]             83,466,3L6     E

     Revenue per Bbl [D/E]                              $0.27342      F

     Lost Revenue   [CrF]                               $+61,233      G




                                                                                                                 IB
                                                                                        SIRIUS         SOLLJTT!ON.IS




     8"5 Scenaria 2
 1   In Scenario 2, I assume that the Terminal would have received claily volurnes in August 2004

 2   and Septernber 2004 that are 24,078 BPD greater than the daily volumes received August 2003

 J   and September 2003. This 24,078 BPD increment above the same months in2003 is the same

 4   increment that is discussed in 8.2 Historical Receipts based on the comparisons of the daily

 5   receipts in the months of May through July fbr 2003 and2004.


 6   Unlike Scenario 1, in Scenario 2 I consider the month of August and half of the month of

     September. The reason I consider 1% months is because some logistical arrangements for one

 I   month are made in the prior month in order to schedule vessels, pipelines, etc. and transit from

 9   the clepafture location to the arrival location. Therefore, it was likely some shipments to or from

t0   tlre Tenninal in Septemb er 2004 were diveÉed away because of third-party clecisions that iracl to

11   be made in August 2004 when the Neches River was impacted by the oil spill.


12   Table 5 presents the calculatíon of the lost revenues under the Scenario 2 assumptions. In this

13   scenario, the Terminal loss is $876,027.


     Table 5¡ Scenario 2 Lost Prol'its Calculation
      Scenario2                                      2004 August    2004 September            Total
      Days / Month                                            31                 30                      A
      2003 Net Receipts [Exhibit   L]                  7,857,250         8,51"5,637     'J.6,372,887     B

      lncremental Bbls @ 24,078 BPD *
                                  [A]                    746,429           722,351       1,468,780       c
                               [B+C]
      2004 Expected Net Receipts                       8,603,680         9,'.231 ,9BB   17,84L,667       D
      2-004 Actual Net Receipts                        6,:t70,351         7,696,729     13,867,080       E

      Lost Volume [D-E]                                2,433,328          1,,541,259     3,974,587       F

      Volume lncluded                                      lOO%                 s0%                      G

      Lost Volume included [F*G]                       2,433,328           770,629                       H




                                                                                                              l9
                                                                                                 J¡¡\IIJù           AV¡-V     ¡    ¡UI\J
                                                                                                            'i;j    .j




      Scenario 2                                             2004   AngustSeptember Total
                                                                             2004
      Revenue per Bbl                                           $0.2734? 50,27342                                        I


      Lost Revenue [l*H]                                        soe s,szr  çu"0,706 $876,027                             J




     8.6 Resu/fs Discussion
 I   Table 6 summarizes the results for Scenario 1 and Scenario 2. The Terrninal's actual lost

 2   volumes as result of the oil spill on the Neches River are likely between the two estimates. The

 3   midpoint of Scenario        I   and Scenario 2 is $670,000 rounded to the nearest             $   10,000 and is a very

 4   conservative lost profits estimate.


     Table 6: Res¡rlts Summary
      Summary                                  1
                                         Scenario                    2
                                                               Scenario             Average
      Lost Profits                        $461,233              5876,021        $668,630
      Lost Profits (rounded)              $460,000              $880,000            $670,000

 5   As discussed previously, Scenario              1 is   likely an underestimate since it does not considei'that the

 6   industry was doing better in 2004 than in 2003 and does not consider that some customer

 7   decisions for Septernber 2004 had to be made in August 2004 when the Tcrminal was interrupted

 B   by the oil    spill.   Scenario 2 is more realistic since        it incorporates    these two facts. For these

 9   reasons, Scenario 2 shouid receive a heavier weighting in than Scenario                    I in determining         the lost

t0   plofits. Applying a65Yo weighting to Scenario 2 and35o/o weighting to Scenario                            1, the lost


11   profits were $733,000.


     I   GoncIusion
t2   Based on my analysis of the receipts and shipments at the Terminal, the dock is a clitical

13   component of its daily operations. Nearly the equivalent of the Terminal's entire daily voiume




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                                                                                        SIRIUS        SOLUTIONS




       I   passes over the dock in one direction or another since B0l-% of the receipts come by the dock and

       2   roughly 201-yo of its shipments go out over the dock. As a result of the oil spill on the Neches

       3   River, the Terminal lost the use of its most crilical transportation mode and was severely

       4   handicapped until the resumption of normal operations on the Neches River, at the Terminal and

       5   by the Terminal's customers. The Terminal's lost profits were $733,000.



           't0 Qua!if!cations
       6   I am employed by Sirius Solutions LLLP ("Sirius")      as a   Director in its Legal and Economic

       I   Consulting practice. I have been employed by Sirius since October 2010. Pliol to joining Sirius,

       I   I held similar positions al Huron Consulting Group, Navigant Consulting, KPMG and Arthut

       I   Andersen. As a consultant, I have performed a variety of valuations, including plant property

      10   and equipment and business and fìnancial analyses on behalf of clicnts involvcd in clisputes,

      11   transactional matters, bankruptcies, treaty disputes, breach of contract clairns and insurance

i12
:



           claims. I have provided expert testimony in the form of written reports and testified as an expeft

      t3   witness at trial, depositions and during mediation proceedings.

      14   Before beginning my consulting career, I spent more than a decade at Amoco Corporation

      t5   ("Amoco"), including assignments at the Amoco Ilesearch Center, where I conducted

      16   experimental work and performed technical and econornic evaluations of natural gas conversion

      17   teohnologies, refining llt'ocess technologies, synthetic fuels technologies and alternative ellergy

i
i
      ta   technologies. In addition, I held various positions at Amoco in opelations, environtnental

      19   compliance, capital planning and supply chain planning. I have a BSE ancl MSE in Chemical

      20   Engineering fì'om the tlniversity of Michigan and an MBA from the University of ChÍcago. I am




                                                                                                                 21
                                                                                        SìRIUS:)   SOLUTIONS




 I    an Accreclited Valuation Analyst through the National Association of Certified Valuation

 2    Analysts and I am a licensed Professional Engineer (Illinois)" See Attachment B for my

 3    curriculum vitae.

 4    The scope of services requested by UNOCAL is within the scope of services offered by Sirius'

 5    Legal and Economic Consulting practice and consistent with my experience and qualifications.



      1   I Com pensat;on
 6    Sirius receives compensation for this engagement in the fonn of hourly rates for the tirne

 7    incurred by Sirius profêssionals involved. Neither Sirius' fees nor my compensation is

 o
 ()   contingent on the conclusions reached or ultimate resolution of this case. Table 7 contains    a


 9    listing of the hourly rates charged by Sirius in connection with this case, including deposition

10    and triai testinrony.



              Table 7: Sirius Solutions Flourly Rates
               Title                                                    I'Iourly Rqte
             ManagingDirector                                                 $485
             Director                                                         $350
             Senior Consultant                                                $250
             Consultant                                                       $   150



lt    I have prepared this report to set foúh rny opinions in this matter. I have reached these

t2    conclusiol'rs and developed my opinions based on the documents and information provicled to me

13    as of the date of this   report. As discovery is ongoing, I reserve the right to amencl or suppiement

T4    this reporl based on information lnade available to me subsequent to the date of this report. For




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                                                                                   erÞltre        ê/\t    ttTt^Ntc
                                                                                             t)




I   pì.ìrposes of providing testimony at   trial, I intencl to illustrate nry testimony with demonstrative

2   aids such as graphs, charts and/or slides.


3   I base my opinions on my worlc   as clescribed in this report through an indepenclent review         of

4   documents and through my knowledge and professional experience. I express all opinions to a

5   reasonable degree of certainty. I prepared this report solely for use in connection with this

6   matter.




    Respectfuliy submitted on:

    Date: March 21,2071




    David B. Letrnan

    Sirius Solutions LLLP
    1233 West Loop South, Suite 1800
    Flouston, 'lX77021

    Telephone:     71.3-888-71,82
    Email:          dlerm4n@sirsoi.com




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Ðxhibit L: Histotical Tetminal Activity

                                            Monthly Chevron Beaumont Term¡nal Throughput by Type for Rece¡pts and Shipments      (BBLs)

                                                               Fcr Fiscal Years Ended December 31, 2003 and 2004


                                               2003 Rece¡pts                                                                                  2003 Shipments
                                     Rail
Line   Desr                  eline   Car                       Truck       Transfer                          Barge        P¡pel¡ne    Rail   Car   Ship        Truck Transfer          Total



7      January 7,532,268 1,22'!,ç80 70,293 6,535,056 122,875 773,Ð24                    9,594,595                         6,905,899 32,674         497,773      71,759         0      8,277,753
z      February 974,673 7,267,763 4,099 5,038,809 7ZQ,74A 2L6,847                       7,562',939           887,439      5,315,091 28,057          48,110       7,562         0      6,286,2s8
3      Mai'ch    807 ,5a7 L,82O,A45 74,857 4,265,432 t44,8?,8 560.060                   7,613,677        1,050,384        4,940,299 22,837         607,773      74,710         0      6,636,401
4      Aprìl    1,730,983 1,432,,909 13,556 4,937 35A ß3'732 948,358                    9,226,888        r,236,744        5,336,092 23,653         757,383      72,477         0      6,766,343

       May       658,575 7,549,343 O 4,896,496 218,396 7,234,126                        8,556,937        r,017,965        6,258,398 32,277         442,123      1-7,554        0      7,828,317

6      june      652,773 r,?34,t53       0 4352,339 190,651 777,980                     7,201,736        1,516,0s0        5,088,743 38,115         429,578       9,76s         0      7,C81,652

7      juiy      273,484 1,138,814 3,861 4,26A,712 271,798 531,029                      6,487,698        1,383,973        5,513,462 28,833         413,772       9,757         0      7,349,797

8      August    340,470 1.558,831 4,0!9 5,7AA,736 253,794 320,009                      I,177,264        1
                                                                                                             ^)7
                                                                                                                   Ãq-1   5,290,526 32,577         677,670      14,755         0      7,376,952
9      September 9A2,826 7,C4?,537 10,90s 6,345,626 2!3,750 527,717                     9,037,354        7,429,4Q4        6,151,374 31,520         537,207       6,123         0      8,L46,62S

ro     October   792,752 647,898 0 6,007,222 181,208 661,85L                            8,290,931            689,363      6,637,315 44,916         376,395 ß,464               0      7,761,,453

11     November 94A,609 779,744 0 5,27!,567 111,903 557,488                             7,667'31L            993,024      6,2A7,414 29,544         ¿¿4,554       b,4t          0      7,454,943

12     December 731A,654 7Aj.,918 O 4,7A5,676 796'988 426'992                           6,822'22g            994.140      s.229.299 25.701,        697.441      ].O.AM         0      6.956.625

73

74     Toial      ]!ß5?,514 14,4?5J30 61,æ0                                                             13,s11,615 68,867,972 370,598 5,Q38,777                732,627               87,92L,524

15       T"aftatal 1'2.76% 75.27% 0.O7% 69-17%                   2-45%                                        rs37%         78.33% 0.47% 5.73%                  Q.1,5%      Q.OO%




                                                                                                                                                                          Exhibit   1 Page 1      of 2
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                                                        2004 Rece¡pts                                                                       2004 Sh¡pments
                                             Rail
                   Barse         P¡oeline    Car           sh¡p         Truck    Transfer      Total          Barge     Pipeline    Rail   Car    Ship        Truck      Transfer      Total


L7   January      7,1-25,1"70     428,L50           0    4,295,557      338,447 372,A4t      6,499,364        777,825   4,965,937    51,781      268,866       7,303           0      6,Q77,7t2
1ú   February     I,349,2O9       79?,345           0    5,304,254      302,!99 4!9,144      '1,667,7st       777,466   5,09q996     43,765      270,260      10,054           0      6,132,542
79   March        I,403,900       728,599           0    5,585,860      313,373 1,372,342 9,404,075           887,O42   6,?31,669    42,679      582,554       9,C83           0      7,747 ,967

20   April          7   4A,CZ9    7O9,029           0    3,770,265      330,009 7,567,946 7,057,276       I   O?e ?¿?   4,333,474    50,696      581,978      73,998           0      6,918,389
2i   N4ay           563,577       955,250           0    6,308,2S3      377,9AO r,230,272 9,435,332       1,,6Q7,493    5,815,380    33,243      385,939       9,942           0      7,85i,997
22   June           685,267       910,242           0    5,64I,873      357,588 700,476 8,295,446         i,!58,47L     5,935,724    33,823      723,284      i0,833           0      7,262,A74
23   July          7C7,676        820,152    2,777       4,245,31,8     333,729 7,237,358 7,34/-,017      1,436,753     4,510.999    45,779      476,173      10,593           0      6,419,C97
     Augusi         -o83,928      654,826           0    4,242,522      289,076 L,A77,105 7,247,456       3.,280,232    4,777,042    62,!09      303,345      13,217           0      6,375,904
     5epteínber   1,090.582       632,970           0    5,702,767      27L,070 652,395 8,349,124         1,300,360     5,505,s69    65,O77      334,897      16,3CC           0      7,222,203

26   October    906,722           728,100           0    s,689,s33      255,628 804,i18      8,383,500    Lt tó,!5t     5,961,s73    8q964       777,477      LZ,416           0      8,004,585
77   November 929,754             917,A73           0    4,638,662      239,839 7,310,177    8,029,005    !,622,482     4,445,839    66,116      249,709      1.0,464          0      6,394,611

28   December 1,288,746           777,474                4,206,9s7      222,771- 497,94?     6,932,894                  4,633,742    48,877      327   ,832    7,777           0      6,405,62A

29
30   Tclal      71.773,459       8,487,808   2,777 59,571-,22L 3,631,050 17,169,315         .o4,635,631   i5,946,263 62,147,9A4 624,243 3,956,372             131,979          0     82,806.701

31     %aítctal    L4.LL%          1A.17%    o.aa% J7.37%                4.35%                                 19.26% 75.05%          0.75%        4.7A% A.16%             O.OD%




                                                                                                                                                                        Exhibit     1 Page     2   cf   2
                                                                                                                       ,"     el.
                                                                                                                      .t
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Exhibit 2: F{istorical Ctude Receipts at the Dock

                                                                  2003 Crude Receipts at the Dock {Barrels per day)
                                January   February    March       April    May      June    July August September            October November   Decen'lber
ExxonMobil Refìning & Supply    125,839     78,80L   720,91.6   105,700 99.816 L05,824 83,795 118,480 205,992                152,083 ].rt,278      80,010
Lion Oil T&T, inc.               15,899     17,527    1.6,678    15,453 16,393 16,484 16,810 16,014 16,625                   15,910 16,45L         15,974

Koch Supply & Trading   LP          00                     0        000000                                                       0     0             L7,327
C¡tgc Peiroieum Corp.            53,619    75,42r          0     34,248 19,405 10,984 30,s33 26,848 33,734                   77,016 27,405                0

El Paso   Merchant Energy           o         667          0        000000                                                       000
BASF Fina Petrochemicals            00                     0     20,49900000                                                     000
Valero Marketing & Supply Co.       00                     0     15,88800020,64!0                                            !5,037    û                  0

Sheil Tradìng US Ccmpany            sq                     I        s9.saq16,638                                             14.788 9.984            19.r-30

Totai                           L95,4!7    172,476   !37,59s    792,789 1.35,61.5 L33,292 130,638 181,983 272,989            215,894 165,058      132,441




                                                                                                                                     Exhibit 2Page    1 of 2
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                                                                   2004 Cnr¡de Recelpts at the Dock {Barrels per day)
                                 January    February   March     ApriÊ       May       June      July August September October            November      December
ExxonMobil Refining &
Supply                           1A2,745    108,678 51,687      35,191    tA1,748    106,100    82,608    78,009    87,286          702,925   70,288       85,474

Lion Oil T&T, lnc.                ß,a23      77,735       0        0       16,056     1"6,782   76,54L    15,871    1"6,979          L6,048    16,443      15,985

Koch Supply & Trading       LP         0         099               0       2a,299         0      9,662         0         0               00                      û

Citgo Petroleum Corp.             15,938     1,6,945 64,800     34,923     25,705     30,652    16,790     9,625    19,1_96           9,713    19,945       9,61L
Valero Marketing & Supply
Co.                                    0         o     17,687    6,602     0            0          0      16,!95         0          73,837          0      1"6,907

Shell Trading US Company               0     33,093    27,204   10,829     0            000                              U          26,023          0            0

Plains Maiketing,    L.P.              0         00             21,,355    0            0          0       5,782    17,442             0       24,340       ? 4qq

BP    Producis NorÌh Amerlca           0         00                 0 20,918         14,535        0           0    77,622             0        9,776            0

5emCrude,    L.P.                      0         00                 00                  0068                             0            946           0          47

Cameron Hishway oil                    q         a.a                qq                   aqa                         6,826             sg                        s
Total                            ¡.34,706   L76,451 t67,476     108,900   784,72.6   168,068 125,600     125,551   165,350          169,492   736,2s7     l'3Ð,527




                                                                                                                                         Exhibit 2Page2 of 2
                                                                 SìRI{JS   SÕLUTIÖNS




Attachment   A:   Documents Considered


lncome Statement Accounts for 2003-2005
lncome Statement Accounts for 2002-2005
lncome Statement Accounts for 2006
lncome Statement Accounts for 2002-2005
Annual Terminal Revenue by Customer - 2OOz
Annual Terminal Revenue by Customer - 2003
Annual Terminal Revenue by Customer - 2OO4
Annual Terminal Revenue by Customer - 2005
Annual Terminal Revenue by Customer - 2006
Daily dock traffic reports - 2002
Daily dock traffic reports - 2003
Daily dock traffic reports - 20A4
Daily dock traffic reports - 2005
Daily dock traffic reports - 2006
Monthly detailed income statement accounts 2002
Monthly detailed incorne statement accounts 2003
Monthly detailed income statement accounts 2004
Monthly detailed income statement accounts 2005
Monthly detailed income statement accounts 2006
2004 Monthly lncome Statement
QTR Activity Report
2002 YTD Activity Beaumont
2003 YTD Activity Beaumont
2004 YTD Activity Beaumont
2005 YTD Activity Beaumont
2006 YTD Activity Beaumont
Claim Summary / Determination Form US Coast Guard, Claim: N04067-002




                                                            AfiachmentAPage1of'J
                                                                              SIRIUS4     SOLUTIONS




Attachnlent B: David E. Lerman Curriculum Vitae

PERSON,AI,

Date ofBirth:                   June 15, 1961

Madtal Status:                  Mauied
Citizenship:                    LJnited States of America

Employment Status:              Director
                                Sirius Solutions LLLP
                                Legal and Economic Consulting Plactice

Office   Address:               1233 West Loop South, Suite 1800
                                Flonston, Texas'l7027

OfficeTelephone:                (713) 888-7182

EDUCATIONAL
TACIdGROUND
December   1983                 Bachelor of Science - Chemical Engineering, University of
                                Michigan, Magna Cum Laude

December    1984                Masters of Science    -   Chemical lingineering,
                                University of Micltigan

March     1996                  Masters of Business Administration,
                                University of Chicago, High l{onors

ITMPLOYMENT
October 2010 -   Present        Director in Sirius Solutions LLP Legal and Economic
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                                                                         Attachment B Page   1   of 2
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                           Law Institute

TESTIMONY:                 Testimony Experience

                               "   In RE: Wellman Inc. Provided trial and deposition
                                   lestirnony for expert report


                               "   Atlantic Richfreld et al. v. IMCO General Construction
                                   et al., Provided deposilion lesîimoni.es for expert and
                                   rebullal reports

                               e   Bowater Inc. et al. v.                     Terrnessee              Valley Authority,
                                   P r ov ide    d dep   o s i. ti o   n   tes t im   ony   for       exp er t r ep ofi


                               "   CcnterPoint Ilnergy Services l,tr C v. The Premcor
                                   Group and Air Products
                                   Provided trial and deposition testìnxonyfor expert
                                   reports

                               u   IGX Group v. Albemarle Corporation
                                         d arb i tr a t i on and d ep o s it on t e s t im ony for
                                   P r ov í de                                                    i


                                   expert repofts




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The Role of the Financial Ëxpert
Third Ëdition



Edited by

ROMAN L. WEIL

MICHÀE¡. J, WAGNER

PETER B, TRANK




JOHN WILEY & sONS. INC,
New   York   o   Chichester   ,   Weinheim   o   Brisbane   n   Singapore   o   Toronto
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         AEEÖUP{TANTs AhåÐ ËCÖNÕM IST5

            Ëlizabeth A. Evans,.¡Þ, MBA, CPA, CnfiA, CFA

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       INTRÒÞUCTION, other clrapters in this book will assist a litigation
                                                                                        expert
3,1
in analyzing a cate,$ issues. This    chapter  will  acquaint    accountants     and  la\'vyel's
with * þoui of professionals'who offer-complementa ry skí1ls--*economists'
                                                                                      the e¡o'
    Ecoiiomiits ai*ernpt to understand the struchrre and performance of
nomic entify being Ëxarnined. Ind,ustrial      organization     eÈonomìsts,     for  example,
nà* u¡o..rí .o*pätitiu" industries, oligopoi-ies, and the like. Once_they       Labor
                                                                                       analyze
                                                                                        econo-
 industry-specific'data, they can forecasl fikely     behavjoral    patterns.
 mists uídårstand the mar{et for human       capital  and  faciors   relevant  to ihe  earning
                                              Financial economis-ts T[ q"y how the
;;;;;¡t" i"dividtral and occupations'                                              ftamework
 äapital markets wor,k. All will use their knoJ ¡led ge to estabiish a logical
 vrithin which to evaluate the actions   of the  parfies to  the  lawsuit'
     Economists are also farniliar with sources of government of otherpubiÍcly
                                                                                          avail-
 able data. They know where to fincl the daia and what          biases   the  data  may   have.
                                                  data to devise    and  test hypotheses     us-
 Finally, many äconomist. know how       to  use
 ing ståtisti.ai techniques ancl thereby create emPirical proof for theories'
    ïhese skills complement those of ãccountants. Accountants know how financial
  statements *a guå"rul busjness records arisri
                                                      jn the normal course of business'
  They aiso undeistân¿ the data supporting financial statements and business
                                                                                               50I
3   N   2   INTËRACTION BÉTWEEN ACCOUNTANTS,AND ËCONOMISTS

                                                                    organize, and document
records and their limitafions. They know how to obtain,
                                                          to the  task. Most important, from
ã"t". rr"r"y *ay bring their own analytic abilities                                        firm-
auditing,ionrlttingio. tax preputut'ion         experience'   an  accountant,iill.lave
                                   entity  that  the  economist   may not possess'
'' p.,ury
specifictowledge"àbout        the
                                                                    two sides exist for every
           expert r.iitiress knows t¡át in litigation at least
                            wili attempt  to discredit   the adversary's    experts'assellions,
case. one sicle,s experts
                     ieaso'iag,   As a iesult,.expertssometimes        obtajntl-re assistance of
ourrr*ptiour,   and
                                                                                        in or¿er
                knowledge a"oes not duplicaie but complements {hqir own,
"Ur"rrïn"rá                   Ecpnomists"and       accountarrts  have   comPlementary      sküIs'
 io butLress their opinions,
A.;;*tÁts muf perform analyses based explicitly.                 or  implici,ily.             *-
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                                                                                       of
 ,"-*ptio"r; econå*ists .* t*st,áod         p*rr"   the-correchress    (or falseness)     the as-
                                       *oy                         to tesi their  theories a6oùt
 ;;'pti;"r, Simila4y,     economists         hut   u hypotheses
                                                                   data fo¡ the tesis or do the
 il;'tlra entity works; accountants piovide the"cor¡ect        training  in several dìsciplines
 ;;p;r"d#i""nfoi¿,ìïUom.               Soine  experts   have
                      the  expertise of accouniants,     economists,    and stalisticiars'
  and thus comliine

3,2   FARTICULAR sÏRENGTl.ls oF EGoNoMlSTs.
                                                            Thís section focuses on the
                             have   had specific trajning that other expetts cannot eas-
areas in which  economists
                                                 modeling  (often us¡ng regre.ssion tech-
ilv duplicate. Thur" u.uo, irr"lr-de ecoåomic
;íq;5;üì;;;;;k"ir;".d              undersra¡durg price ihe.ry and the implicatiorrs of
market risk.
                                                                 techniques, one
 (a) Ëconomic Modeling. Econornists often understand regressíon
               to moãel what would haVe happened but   for certain events' ¡r fact,
 *. .i*f,i.f,      is
                                                                            statrstical methods to tl're
 an entirè branch of economics--econometrícs-applies
                                 and  problems.      One    such   method,     regression analysi¡, ap-
 sttidy of economic data
 p'frJ^-r,"rfttrcal teclnique tL develop an equation L"piÎ9C *1t*1""
                                                                                                    amông
                                            equitio*      for  prediction.'     lìor  cxamPle,   an  experl
 iariables a¡d then *uy,-,r" that
                                                                       made      5ut  for  the.defe*dant's
 ;;ñ;;à to predict           thä sules  that  á  finn would     have
                                                                             the relatiorr'ship between
 actions. He could ,ru" u ,"gr"rrion anaiysis that modele
                                    å1*u*t                       total industry      sales) over a cont'ol
 tf,à fm,, sales and                           factois   (e.g.,
                             "thu,                          piedict  what    sales would have been in
 p*¡ã pt=*¿ing            the  defendanf   s actions    to
                                                                                                    a stock
 lhe absence of those u.tionr. similarþ if anexpert needs to estimate'how
                                                   óvent,     financial    economist      *ray  predict this
 *ã,riJt u',r* performed but for some                       a
                                                                                                      an in-
      performinq       a regression    analysis'    This   regression     analysis     might'relate
 bv
  ;årffi;;ï'ifi;fifiã stock to ån i¡vest¡nent of the same size ìn a portfolio of
  tø.tt
  - --Thu irr the same inclustty
                                      or in the market'z
           .ugr.rsion      anaþis   äbo   provides other relevant information such as t¡e sta-
                                                                                               explanation
  tirti""ì rìft-,ili.ur.,.e of ihe relation among the variables, the degree of                      around
                                                                          confidence      intervals
  uffo.a.aîy the equation, u.,à thu abilifylo                construct
                                  tech¡]lqr,"   not  orrly  provides    predictions     but  also errlicitiy
  the estimaie. Hence, tl',e
  describes the strength or stability of the predictions'
                                                                                models the sales of liirm
      Assume that an expert has consiructeá an equation that
                                                    Now     the  expert   wouid     like to know wlrether
   A as a functioo of tot^l i,,¿.,st,.y    uales'
                                                                                   whethel     thìs variable
   the sales of Firm ¡ retate to ïhe total industry sales,
                                                                         that  is,
                                                                    the f-statistic' an
    t uip, .*ptui.t the movement of îfie firm's sales' By ellmining
                                                                   explanatory pover'
    u.Jr.romiit can ascertain whether the variable has significant
                                                                      (often callecl the
    The economìst can also check the coefficient of determination
                                        3.2   PARTICULAR STRENGT¡IS oF   EcoNoMISTS 3 o      3


      R-squared) to measure the amount of the change in the firm's sales explaineci by
      the total industrJ¿ sales.
         Although regression analysis produces.an unbiased estimate, certain daia reia^
      tions ca¡ occur that obscure or overemphasize the estimates. The most common in-
      clude heteroscedasticity, autocor¡elation or sêrial correlation, multicollinear,ity,
      and nonii¡ear relationships. (see Pindyck and Rubinfeld (1991) and Chapter z fór
      m.ore discussion on regression analysis")

       (b) Market Definition. While rnarket definition most often relates to antitnrst
      analysis, it may arise rn cases such as breach of contract or patent infringement or
      any case where thè measuie of damages equals the plaintiff 's lost profits (or the de-
      fendant's ili-gotten gains). Analysis of the relevant market dividès into fwo areas:
      the product ma¡ket and the geographic market. In defining the ¡elevant product
      market, onemust include notonlythe specific productin the.case atþand'6ut also
      tþsq products that cpnsumers may siilrstitutè (demand-side substitution). One
      must 4lso identify both ihe firms that curfently make the relevant product(s) qnrf
      the firms that could switch to manufach¡ring the relevant product(i) (supplpside
      substitution). Similarly, in defining the geographic market, one must inãluãe not
      only the areas the firms that rnake lhe relevant products currently serve but also
      the areas from which firms would ship if a supraiompetitive (or pátent monopoly)
     price werè imposed (Posner and Landes, 1981),
          Economists cên test empirically for a market definition in a way that accounts
     for relevant factors. First, they can esfirnate the change that will occur in the quan-
      tify sold of a product if the price of that product changes (own-price elasticiiy).
     Second, the¡r can estimate the change in the suantity sold of a good when the price
     of ansther good changes (cross-price elasticityJ. These estimates offer useful iools
     of ma¡ket definition. 1ìor example, if a 10 percent increase in the price of Product A
     produces a 20 percent decreasô in the quåntit¡z sold of Product Â and a i5 percent
     increase in the quantity sold of'Products B and c, a market defined as product A
     alone-may well be too n4lrow and one should consider including products B ancl
     C in the market defi¡ition. On the other hand, if a 1.0 percent clecrãase in the quan-
     tity sold of Product A has no (or only a small) effect on the sales of proclucts B and
     C, then one could. define the relevarit market as Product ,A- alone.
        Economists often empirically test the geographic rnarket by correlating the
n-   prices oI the products in different areas. Correlation ¿inalysis measures the strength
0f   of the relationship between two variables when analysiá carmot idmtiftT one vari-
     able aç the cause of the other(s),3 Economists have found that the pricås of pro<i-
     ucts that share the same geographic market wi-li tend to correlate stiongly. That is,
     if the p-rice in Area A and the price in Area B tend to move together, ihe-y probably
     share the same geographic márket (Siigler and Sherwirç X9B5),

     (c) price Theory. Price theory offers another area of economics importani'for
                                                                                   liti-
     gation. By observing prices over iongperiods of time, economists hãve discoverecl
     that cerfain markets behave in certain pattems, most commoniy             competiLive
     (many sqllers of a good and its closé subsiitutes), monopoly (one sé[er oia good
     without close substihrtes), oligopoly (few seìlers of a good ar-rd. its close substi-
     tutes), cariel (a group of firms acting in concert), and monopsony (a firm with
     monopoiisfic buying power). Fur example, economists have observed ihat ín a
3   O   4      INTERACTION BETWEEN ACCOUNTANTS AND ËCONOMÍSTS

                                                                        above tlre comPeti.
competilive market, firms carurot raise the price significantþ
                                      total             and  prOfits'  wheteas    a monopo-
tive ìevel without decreasing their         revenues
list who can prevent   entry cä  raise the  price profitably'  Although      most  PeoPie as-
                                                                  ít may.1¡pJy.to    any case
*.lutu pti.u'theory with antitrust and iegulation        cases'
                                                                                         colr-
                                   firm's befiavior  in the absence     of the injurioUs
where ai expert mist estimate a
                                 of contract  case, the  tools  tirat price theoryprovides
J,r.t. fot           ín a breach
                                                                                      amount
           identify subsequent sales as replacement sales for the breached
muy help "*ätople,
or additional saleq that dould have occuired anywaya

(d) Market Risk. Many empiricai studies require consideration of capital
                                                                              market
                    ir. á ptuå.^t value analysiË, an expert disgou$s.c3sh flows
                                                                                 to a
;;kii;;;."*Pte,                                     usês,should reflect in some cases
soecific date, and the discount factör the expert
;tä;;ü;J'i"ã;rhy            effects of each perìod. Ëconomists can estimate the ap-
*"f#;ï:,1iäH;?:l                  .,,u rhe capirai Assg¡ r1i¡r¡ia-{oder (CApM) ro esri-
                             or,u,.,
                                                                                            of a
*ut" t¡u appropriate discount ¡ate (see Òhapter 8)' CAPM defines the retum           short*term
                                                                        retum
firm as thi iist_free rate of reiurn (usually measured by the
                                                                                 on
                                                                                  risk-free ¡ate
Þbiilt /f"r tf-," difference betweenlthe relurn on the market and the           beta (the meas-
                                               premium)    times  the firnr'-s
   ,*t"Å (otherwise     t rrowr, as  the risk
"f
ureof  thefirm'srnarketrisk) (BrealeyundMyurs' 1996'p'               180)'Afinanciaiécono-
                                                                    the present value analy-
*irl"ri"g the CAPM corrldãàvelop a discount factor for         flows   occurring in djfferent
sis that wäuld incorporate     not  onþ    the effects of cash
                                                                             firm experienced'
;t-";;rj;Ãb"t uUà the retum thät the market and theanspecific                     cash flow oc-
ä;"å, ; ;"pert could more precisety leasrle               what       expected
."tti"g in Time Period      6 woulå    equal in  Tlme  Period  0'
                                                                 (or debt)' The presence
    Financial ecc¡noÍrists also deal with fhe effect of leverage
                                            the shateholder   receives any return rnakes
 of debt ihat a compally must pay    before
                     irlivestmeni t"Ltiu"ly tiskíer' The  discount'factor for a firm's as-
 the shareh<¡l<lers'
 ,ut,      therefore differ from the díscount factor for the fiim's "qy1g Y
            *ilt                                                                   il:
 amount of risk represented by debt(Brealey    and  Myers' 199ó' pp' 2l'3*217)' The fi'
                    understaríds  this distinltion, how  to change   one' to the other'
 ,ru*ciul economiJt
 and which one wiil apply to tJre specific case'

 3.3PARTIGULARSTRENGTHSotAccoUNTANTs.Tlreaccountarrtlras
 uo"ngt, that others *orl1¿ find difficult to duplicate'{hÎtåti$* Te
                                                                     under-
                                                     (GAAP)' the way in which
 ,t*aïg of generally accepted accounting prinõiples
                                                 a financial statement (whether
 ;;"ü"il#rr6    tli" unaärtyitrg data toþioduce
                                                 of income taxes, and how best
    fo¡ intemal or external use), ctstistimation, effects
    to present the results in an undelstandable fashion'

                                                                              accepted
    (a) GAAP. Orriy one trained in accounting can understaird the generally
                                                       statements for public nse' Mudr
    a.corr,ting priicipies ,rriá to prePare a"cãunting
                           in lawsçits lome              statements'       If the economist or
    "*p"r."i?åro,,J.¿                          {om.\se
                                                    derivation or whatit'represents'        that
    ott'er expert does notundersian¿ anumber's
                                                                          that  not apply
                                                                                 does.
    u"pert *igllt base an empiricai study on a set of assumptions
                             ït   *rorrg duta altogether. The following hig¡rlights some
    tnìt u .urð or might use
                                "
    of the areas nonaccountants understa¡d the least'
                                 3.3   PARTICULARSTRENGTHSOFACCOUNTANTS           3'   5



   One of the most difficult areas ínvolves consolidation of financial entities. Afier
a pareni consolidates a subsidiary, an economist mayneed an accountant's expert-
isä to unravel the consolidâtion to measure urueported items: the amount the
parent paìd for the subsidiary. the bogk value of the subsidía¡y's assets prior to
äonsofiäadorç the amou¡rt,of goodwill on the subsidiary's books prior to consoli-
dation,.the intercompany tranifers, the effect of tl're subsidiary's being a foreign nP-
eration, and so forti., the accountant m-r¡St understancl these items for both the
pooling and purchase methods, Conqqlidations become even more con'rplicated
when the Parent/s owngrship equãls less than L00 percent.
   An accounfant can explain valuation bases Of assets under generally accepted
accounting pfinciples. An,economist'may plan to use balance sheet data ovel a Pe-
riod of yeãri m pãrform an empirical study, A¡ accoüntánt can explain wheri val-
uationsîse histôrical cost and äarket vâIUes, FOr example, when a case involves a
fir¡n's holdings of marketable securities, the acçQuntant may have to ascertâin
whethe¡ the fi-iancíal st¿ltements use a cost or lnarket basis and whether a contin'
uous seríes of data valued on the same basis exists.
   when studying a fir¡n{s sâIes, an accountant may need-to explain the effects of
returruu re.og¡titiãn at times other than the time of saie' 'Ihis becirmes especially
kue when the firm has long-term construction contracts; instaliment or consí8n-
ment sales/ or special''order rnerchandise'
   Inventory presents two difficulf.ies: the vaiuation of inventory (acquisition cost,
current cosí iower-of"cost-or-rnarkeb and standard cost) and cost flow assLlmP-
tions (specific identification, LiFo, FIFO, and weighted avera8e). The_ economist
unh.aih;d in accounting will not typically know that althouglì LIFO (lasi ir¡ first
out) measules,the cost of gosds sold at current cosls, it presenLs inVentory amounts
on the balance sheet ut-ttelat"d to cuuent costs. Even an economist who under-
stands the basics of LIFO may not know how the in{ricacies of doliar value LIFO,
gross margin method, and dollar value retail urethocl LIFO affect accounting data.
ñ^egardinfcapital assets, the accountant understands the differences in the valua-
tioñ of purchased and self-constnrcted assets, as well as the valuation of costs,sub-
s.quent to acquisition (e.g,, repairs and maintenance, movingf replacement and
imþrovemen¡land addïtions),.The conceptof. depreciøtiotl causes confusion because
thá term has differentmeanings.for economists and accountants' To the economisti
depreciation means the decline in an agset's valu€ in a given períod, whlch decline
reiults ftom reductions in the asset's valuè caused by (1)'Physical use and (2) ob-
solescence offset by unlealized holding gains (or further reduced by unrealized
losses). To ihe accountant, depreciation mea¡S, simply, a Process of cost allocation,
which assigns cost to periods of use. Over the life of the asset, tlte accouniant wili
write down the asset'¡ cost to Salvage value through some systematic process un-
reiated to perioclic change in value. ln contrast, the econornisi wili track the mar'
 ket value äf the asset, calting declines in market vahte depreciation and increases,
appreciatíon.
    Economists often do not understand contra accounts, Although assets such as ac-
counts receivable and properfy, piant, and equipment have contra accounts, each
contra account has a diffeient þurpclse. The allowance for doubtful accounts I'relps
estirnate the recovelable value of accounts teceivable, brrt the contra account øcc¡.t-
'lnulaterl deprecìation serves a different puryose. Moreove¡, an economist may need to
know that although tangible assets have separate confra accounts, intangible asseis
3o6       INTERACTION BETWEEN ACCOUNTANTS AND ECONOMISTS

                                                                            account does nOt
need not have such accounts. Yet the nonexistenCe of a contra
                       not amortize   iitangible assets in much    the same    manner as they
mean thal firms    clo
depreciate tangible assets'
   '4.,              who has mastered the relatively simple process of accounting for
         ".ooo*îrt
mar*etable     securities may not understand tl,re methodOlogy used for inveshnents
in se.r-r.iUur, especialty oJhur, rl1 equity investment provides its owner significant
intfuence, Generally, ó¡ie uses marúet val.rres to value an interest
                                                                             in a firm's equity
                                                                                  howeveq ihe
S"àu.ities as part oía portfolio in finanCiai statemenis. ,In some cases,
investor may use the équity method.        The  balance  sheet figure   for  an investment    re-
                                    does  not equal either  the  cost that   ihe investor   paicl
porte<l by the equity
or the investment's market^utr"t"avalue. Insteád it represenis a mixttlre of the original
cost to the investor   jncreased   by the investoris sñare of the firr¡ls g4'mings retainerl
since the   time of  the investrnent,   An economist, moreove4, may not know that ttris
                                                                                      jn this in-
investorfs income statement will report tevenue equal to the increase
vestmenl without the firm's       necessarily  receiving  cash  from   it'
                                                                                        collven-
    A boncl is another fi¡ancial instrument with compiicated accounting
tions   that may play an important role in      empirical  studies'   The   tep?trTg    require-
ments differ áuþ"íahg ori whether ttreboná is ân asset
                                                             (iívestment) of the firm         or
a iiability (debi). en eãonomist studying a-firm's ¡ond invesfments
                                                                              may not real-
                                                     sheet  equals    the  present  valug of
ize that iirà n*åunt listed on the firmls=balance
                        and the  expected  interesi  paynnents   (evaludted^at    the   effec-
tlle bonds' face value
 live interest rate on lhe purchaie date, unadjusted for subsequent inierest
                                                                                          ¡ate
changes) and not the faceialue of the    bonds.  Furthermore,    tl're  income  staiementls
jnterest expense fo, ti,u bonáã"Utor probably does not equal the ínterest Paict.6
When studying bond discodnts a*d premìu_ms and their amottization, an
                                                                                       econo-
                                          calculate  the market   or   face valuç  of what    a
mist may näudä accountant's help       tà
 firm owes or even   owns.
    Pension plans comprise yet another source of rnystery to.ã rlonaccountant;
                                                                                        liahil^
 their termirillogy inclùdes such pl'rrases as normøI coit, sweetenittgi øctuøriøI
                            defined'contribution,fully           parl,ially funded,   contrlb-
 äy,irinng, de¡iíídbeneJit,                             funde.d,
 ,íåry, u^ã'nohcontribuíory. Éot un economist, the most importarrt fact concerning
                                                benefits may be that a firm's obliga-
 ¡;;i"; plans and other posremployment             in total*-anywJrere in the'financidl
 iiorr, *uy not appear--or'  at leasi nót
                                               "pp"ut
 statements.

 (b) understanding uses of Accounting Data. An accountant undersiands how Ïirms
                                                                             adjus-t these data
 record their undãrþing data for intãrnal PurPoses and how firms
 to create financiãl statements for external     use' In fact, many   firnrs simpiy have'two
 different accounting    systêms---one    for lînancial  reporting   and   one  for assisting in
 rnanagerial decisioã making, Tl.e financial accounting tyttu.*            coliain¡   the infor-
 matioä for preparing r"pori, intended         for people  outside   of  the fÍrm   (e,9., share-
                                       or de.ision  accounting   system,    on the  other  hand,
 holders, bankrj. ft,""*uttugerial
             *"re  detailed i'färmation    for managers or other decision make¡s within
 frå"iaãr
 ihu fi.*. Managerial or decision accounfing data neid not comply with GAAP
                                                                                             and
                                           economic    concePt's  as  opportunitY,costs'      Ac-
 may include information on        such
              also und.erstand  thai a term   used in financial  accourrting   may have a dif-
  countants
                                                                                          depreci-
  ferent meaning to economists; consider: asset, de\recíatí1n, rcseraes, ra)enqer
  ation, ffioney. Some wOrds, notably       cosf and  ex?ense,  have   differer"rt meanings    in
  financial  ancl managerial   accor:nting.
                                   3.3   PARTICUTAR STRENGTI1S OF   ACCOUNTANTS      3u7

    The accountant may use knowledge of the financial data to l'esiate or recreate
 lost financial records. For example, the issue in litigatíon may relate to only one di-
 visÍon or one product hne of a firm. An accor.mtant wouid probably use internal
 data to ascertai¡ wtr-ich income strcams and assets belong to the specific enlity or
product iìne.
    The accountant's.understanding of underlying data also becomes critical when
 analyzing overhead or common cost allocation, A¡ accountant preparing an inter-
nal report on a divisionls profitability may have allocated some'corporate over-
head costs. The expert wifness, on the other hand may need to karow a divisionrs
actual overhead.expenditures. A¡ accountant can ascertain exactly what overheacl
costs to include in the wÍtness's study. For example. an accountant prep4ring an in-
 te¡nal division profit report malr have attributed one-fifth of total overhead to the
division beçause the dÍvis.ion sãles were one-fifth of total sales, The litigation
study,.howeve!¡ Inay include only the salary o.f the division's vice-president, be-
cause the remaining corporate staff worked.on,other divísions.
    Mosf accountants urr-d:erstand the issues of transfer pricing ¿rnd the various
methods firms use to ensure that the overall effect of bulng decisions is tô earn
profits fo¡ the firm as a whole (not necessarily for a single division). In many liti
gation siudies, oñe may wish to use lhe market price as fhe transfer price, parficu-
larly when the case focuses on a single division, Here accountants can use their ex-
pertise to correctþ restate transfer prices at market prices.
    Some of. the litigation studies that economists and accountants perform benefit
flom cash flow anãlyses (e.g., the failing-firm analysis iri a mergei context). Most
economists have little experience understandingìstatements of cash flows, partic-
ularly ihose that r¡se the indi¡ect method for preseniing operating cash flow. Ac-
countants çan modify historical fina¡cial statements to c¡eate a cash flow $tatement
fo¡ a division or a single producf iine.

(c) eost Ëstimation. Cost estimation requires ar1 urrderstanding of the underlyilg
data. Often expert witnesses need to identify wfüch cosfs vary wittr production or
sales and which:costs remain fixed. The accountant must always understand the
data needed for the expert's study, For example, if the case requires an,analysis of
ilrcremental costs/ lhe fixed and vari¿rble cost definitions may differ from those
used in financial reports. Thus, a stucly of whether the company made more (or lost
less) entering into a new market than ilwould have ofherwise may require that the
accountant consider the cost of new equipmentpurchased fo¡ this expansion as in-
cremental even though the accountant normally views such costs as fixed. Econo-
mists and accóuntants rarely lhink about the distinction between marginal costs
and incremental costs. Economists more often use the former constLuct, and ac-
corrntants/ the latten

(d) lncome Taxes. In many Jitigation.sfudies/ the expert must consider the effects
of income taxes. Although economists know when to consider taxes, they gener-
ally have no expertise in caiculating the'tax effects. The accountant should. clarÍ$r
whether the economist wants to uselthe average tax rate, the marginal tax rate, the
effe-ctive tax rate, or even tfie marg-in¡l effeclive tax ratè. For example, a firm's
weighted-average cost of capital calcuiation includes the marginal corporate tax
rate, whereas a fírm's adjuste d preserr*f value tlses tlÌe effective tax rÂte (Blealey and
Myers, 1996, pp, 518, 528).
3u8       INTERACTION BETWEEN ACCOUNTANTS AND ECONOMISTS


(e) Presentation of Analysis. Finaliy, an accou¡tant can assist an economic expert
in presenfing a lifigation report or testimony. Often an economist can best present
findings to the court as pro forma financial statements that an accountant has con-
structed. -Economists make cerfain assutnptions o¡ esfimates in their stuclies and
may need to illustrate how thesé different asgumptions or estimates affecl the out-
come, A sensitivity analysis presented by an accoûntarit that slightly varies the as-
sumptions in several shrdies may allow the parties to appreciate which assump-
tions matter most.

3.4   SPECIFIC AREAS OF INTËR-Àgf¡tN. The remai¡der of this chapter dis-
cusses three areas of interaction ín litigafion between accountânts and economists:
lostprofitmeasurement, antitrust anaþis, and securities laws analyses. Moreover,
because other dr.aplers in this book discuss these topics at length (e:g,, Chapters 5,
17-20, and26), this chapter focuses primariþ on the economic implications of the
analysis that a litigafion expert may encounler.

(a) Measurement of Lost Profits. \,1/hether the plaintiff has, identifiedr the cause of
acfion as breach of contract, copyright or patent infringement, or violalion of an-
titrust laws, damages usually equal the difference behveen the profits that the
plaintiff would have realized but for the de{endant's aclions and the plaíntiff 's ac-
tual profits. Put differently, ihe generai damages measure equals incremer,rtal salês
(or revenues) less.incremmtal costs. Although one may measure lost profits in
many ways/ mosl' measures combine the l,-nowledge of business ánd financial
recordswitlì economic assumptions abogt the relevant industry.
(i) tncremental5a/es or Revenues.   ln a lost profits   study, the analyst must first com-
pute the amor¡nt of lost revenues or sales uniis that the' clefendantrs            actions
irave caused. Analysts nse four common approaches to rneasuring this amount:
(1) before-and-afte¿ (2) forecast of sales, (3) yardstick, and (4) market share,
   The before-and-after approach compares the plaintiff's sales level before the de-
fendant's wrongdoing with the plaintiff's sales level after the defendant's wrong-
doing; the difference belween the two levels represents the lost sales. This ap-
proach implicitly âssumes that only the defendantls wrongdoing affected the
plaintiff's business volume;,otherwise the vÒlume would have,beên the same. This
ápproacþ however, may r:nderestimate lost sales for a plaintiff whose saies weie
increasi¡rg prior to the deiendant's actions. Converseiy, if the plaintiff's business
was declining during the before period, such an.assumption may overestimate iost
sales, To ef{ectiveiy use such an approach, an expert ofien will include a market
analysis in the Josi profits study, For example, an industrial. organization economist
migltt characterize the ildustry as matute and stable during the period rrnder
question, indicating that the plainfiff's sales level probably would have remained
unchangecl,but for the defendant's actions.
   instead of the before-and-after approach, arì expert mighi forecast bui-for saies
by usjng a variety of toois such as regression (or other statistical) analysis and then
subtracting the actnal sales to estimate.the lost sales, With this approach, tlie ex-
pert's model (or equation) must àdequateiy predÍct the sales and use a control pe-
riod (over which the equation is estimated) that does not contain events thal woulcl
bias the,results; also, the regression equation must not contain biases such. as het-
                                                            3.4   SPECIFICAREAS OF   INTERACTIoN 3 o    9


                  eroscedasticitv, autocor¡elation, or other similar factors.T The model should also
                  consider all important industry factors tl-rat affect the sales of the plaintiff's prod-
                  ucts. For example, the price of oil may affect the sale of products used jn con-
                  sfructing oilrigs. The omission of a significant factor may ínvaiidate the expert's re-
                  sultsor inake these results seem less credible to a judge and jury. An economist can
                 help ensure that the damages shrdy considèrs all relevant factors and that the
                 model includes the significant ones.
                      A thi¡d common measure is the yardstick approach, in which the expert gathers
                  an index of fums similar to the ptaintiff's firm and compares the plaintiff,s per-
                 formance to the index's performance. This approach assumes that but for the de-
                 fendant's actions the plaintiff would have performed as well as the yardstick. Un-
                 derlyingbiases in thedata, however, can jnvalidate this jndex approach. Aplaintiff
                 fírm that is small or large relatíve to the index firms may.lead to inaccurate results.
                 For example, if.a iarge plaintiff firm lost rnarket share because of the defenda¡t's
                 wrongful conduct, small.firms that acquired those shares might appear to be grow-
                 ing even if the rnarket size re¡nained constant.
                     In the fourth commón measure of the plaintiffrs lost sales, experts consider the
                 plaintiffrs ñarket share during the period prior to the defendánt's wrongdoing.
                Here the êxpert mustnot only define the relevant market but also ensure that ttLe
                rnarketremained somewhat,stable during therelevant time period. Numerous en-
                trances or exits of competitors could undermjxe the use of this measure. Also, the
                analysis should examine the frend of the plaintiff's market $hare, because if the
                plaintiffts market sha¡e varies greatly over the period before the defendant's ac-
                tions, this measure may be urueliabie. As discussed previously, many economists
                understand such market definitisn and stnrchtre analysis,
                     In some breach of contract cases, the expert might start by assuming that the
                atnounfs.in the brcac'hed conttact tepresent the lost sales. The next step ascertains
                whether achial sales drrring the period of breach representecl adciíticmal sales ihat
                would have occüued anyway or were replacement.sales for the breached amount.
         de-        For.example, with a perfectly competitive market for the plainti.ff, the experl
                should assume thai the plaintiff sells at the level justfied by cost considerations
   snSP         and capaciry Even plaihtiffs who could sell more would not uniess they were will-
   ;l:.the      ing to use higher cost capaçity or'to iuvest in extra capacity, a consideration we ig-
   ,Jihis      nore fo¡ now. In other wordS, tlie seller can get ail the customers it wants. Now a
   lWere        sustomer breaches tire contract. In a perfectþ competitive market, the experi
                should assume ihat the seller could find' another customer to iake the breaching
               buyer's amount. The only comperLsâtion owecl the plainfiff wouid equal ttie dÍf-
               ference in the two buyers' prices, if any such difference existed (Goetz and Scoti,
                1979). On the other hand, assume that the market has long-term contracts and few
               buyers and the seller has extra capacity. Now one of the plaintiff 's buyers breaches,
               and subsequently the plaintiff makes sales to a new buyer (or aclditional sales Lo a
               present buyer). I{ere one may argue that ihe new saies do not replace tl-re breached
    sales      amount ancl that lhe court should consider the full amount of ihe breached. con-
     then      tract as lost sales (Goetz and Scott,1979). Thus, experts who do not first analyze the
   .e    ex-   plaintiff's market may find their conclusions vulnerable to close scrutiny
lr'{Jl   Pe_        In addition to the direct.damages owed to the plaii'rtif{, consequential dan-rages
,lvould        may also occur. Economists find this a.nafural concept. If damages awards purport
as het-        to restore the plaintiff to the position it would have been in but for the defendant's
3u   10    INTERACTIoN BETWEEN ACCOUNTANTS AND ËCONOMISTS


acfions/ the damages claim must encomPass every phase of the plaíntiff 's business
affecLed by the defendant's actions. For example, a buyer breaches a coniracl for
ProductA, whichis a jointproductwith P¡oductB, and thebreach cauges the plaín-
tiff to alter its prodrrihion of Products A and B. In this   case ihe breach   couid also
cause damages related to Product B. Consequential damages may also ar'rse when
a breach affécting the sales of a complicated machine aÌso affect tþe subsequent
sales of replacement parts of maintenance service for the machine' 1b ascertain
whether cónsequential d.amages hàve occulred whenever the plaintiff has ari inte-
grated faciìity rèquires that the economjst conduct the same type of market defini-
iion and.strqcturô ar'ral)'sis discussed previously irot oniy for nny primary product
but also for the joint or coproducts.e
   An expert's most difficult proposition to establish, of course, will be the lost
sales or rèvenues for a newly established or,neverjestablished o-usiness (see Chap'
ter 6). Courts now hold that such bUsinesses Can recover damages, provided they
have been proven with "reasonable certainLy" (Du¡rn, 1992tvo1' 1', pp-280*292),
A.s a result, the expert may need to ascertain ihe plaintiff 's market sÌrucrure. If the
plaintiff's rnarket contained many small iírms or a {ew large oRes/ an exPert
ãhould know wher.e a firm of the plaintiff's expected size would:fit along this
speclrum. If the plaintiff would have been a Emall comPetitor in a r¡arket com-
posed chiefly of'-large competitors, the plaintiffls exPert has to prove that the
                                                                          to
þlaintiff rtilt .ould have competed in such t¡ market. ExPefis also need cönsi¿lei
èase of entry and the stability of existing.firms in the industry, If the plainiiff as-
serts that its firm would have had an advantage over other competitors because
of a patent.or otþer new process bUt fof the defendant's actions,The ex.pert must
rnakä some reasonable assumption regarding how long the benefiis conferred by
the patent or new process would last.e Regardless of the method used to esürÌrate
rfie þlaintiff's lost-sales, tìre expert should have some econoinic underpinning of
the assumptions,
(ii) lncremental Costs. After estimating the amount of lost sales, t{re expert must sub-
tract the costs {he firm would have incurred to aChieve these reverrues. Sucfi an
analysis may consídeI many different cost ñeasures: malginal, ijncremental, vari-
able, averagä. and direct. Marginal cost is the cost of producing one additional unit.
lnerementu{cosf tefers to the cost of an unspecified number of addi{ional units or of
a newproductline. Aaerøgeco,et equals the,total cost dividedby the_number of units
produãed. Variøble costs change as the activity (or production) Ievel changes, Direct
costs are the costs of the difect material and direct labor incurred in producing a
product. These definitions come fiom Stickney and Weil (2000, pp. B7&480). The
èxpert must decide which cost rueasul'e Pertains to the particular case. For exam-
ple, a variable cost estimate may appty only over a certâir:r rang€ of Pfoduction
(called the relevant range). If the estÍmated lost sales units would increase the Pro-
ductio¡ level outside the relevant range, then the use of the vaÌiable cost estimate
m.ay be ineorrect.
   i'he reievant cost measure may vary, of coutse, depending on wheflrer the         liusi-
ness is expanding or contracting.lo If the busi¡ess.is expanding     arrd the amount of
lost sales units would take produclion past the plaintiff firm's     present límits, the
expelt shoulcl consideÌ inçluding the capital costs of investment    in new caPâcity or
new equipmefit a$ a cost in the iost profit anaÌysis. The expert     using incrementai
                                                           3.4   SPECIFIC AREAS OF   INTERACT]ON   3o   11


                costs should include such costs and should also make reasonable assumptions co:r-
                 cerning the timing of the investments.
                    Regardless of the me¿isure used, the expert should consider the tirne period over
                which to measure cogts. Over a long enough time period almost ail cosis vary, arrd
                over a short enough time period costs rèmain fixed. Sornerimes the case has an ob-
                vious Lime period (e.g., the dutation of ihe defendant's wrongdoin.g)- In other
                cases, the expert gener¿illy will find thai as the appropriate time period. .shortens,
                the expert should subtract fewer jndirect cost items froni the lost sales revenues to
                estlmate lost profits. fn any event, the experts who ignore tl'¡is issue may get the
                wrong answer even thoügh they have correctly üiade,âll other assumptions in the
                analysis.
                    An expert estimaling costs for a firm'that would have sold more uniis but for
                tlre defendant's actions should consider ihe possibilify of .economies (or disec-
                onomies) of scale. Wíih a iarge:number of lost units, the plaintiff could achieve
                large cost savihgs àt that production Jevel. A studyusing only current costs couid
                underestimate the plaintlff.s darriagès. Similarly, a sfartup firm may have a higher
                cost strucfurè.because of learning culve effects than a firm that has been in busi-
                ness for some time.
                (¡¡¡).Other Cons¡derat¡ons. If an expert uses doiìar arnounts in iris regression analysis
                and the analysis covers a t1tuitiyear fime period, the expert may deflate the under-
                lying data io,constant dollar vâlues prior to performing the analysis. Failure to per-
                form the analysis rn real, ínstead of norninal, terms sometimes will create or ac-
                centuate a trend. Having decided to deflaie tlrc underlying data by an inde4 the
                expert should choose an appropriate index, Deflating different variables often re-
þv
                quires the use of more than one index.
ate
 .of                 Sr,tppose that a brtyer breaches the conTract before, or shortþ after, the seller has
                begrrn performance. Should the seller receive its expected lost profite or just. tire
                costs it incurred in reliance on the buyer's pe¡formance? The soiuiion may depencl
                on the details of I'he particr.rlar situation..A contract,formed in a compelitive mar-
                ket with symmetiicai information between the buyer and seller may call for ex-
                pectation damages, Otherwise one mfty find that although expeitation damages
                present a solution of the problem of inefficient breach, reliance damages present a
                solution to inefficierrt purchase (Friedman, 1989),
                     As experts complete their lost profit calculations, they shoutrd decide whether
                to calculate the damages orì a pretax or after-iax basis, Because the government
                taxes lost profits award, sorne experts.prefer to calculate the award on á preiax
                         -a
                basis." This advice, however, may iead to an over- of underestimate of damages
                by its faílure to recognize changes in tax rates. Alternatively, one coulci caiculate
                the award on an after-tax basis ancl then gross up the damages amount by the cur-
                rent tax rate (i.e., divide the after-tax damages by one minus the current tax rate).
                FQr example, suppose the plaintiff would have made $100 on a pretax basis d.ur'íng
                Year 1 and had it generatecì those funds in Year 1 it would have paid $46 in federai
                income taxes. ('fhis exarnple ignores present value,and state tax issues.) Thus, the
l;ô{            plaintiff would have had $S4 more but for tìre defendant.s wrongdoing. The piain-
.iliç           tjff 's case goes to trial in Yèar 7, after the marginal corporate federal incclme tax râte
F,_o_t          has dropped. to 34 percent. if the court au'ards the plaintiff the pretax g100 jn Year
                Z it will pay only $34 jn federal taxes and on an after-tax basis will have g66, gi2



         ''..
3"   12     INTERACTION BÉTWEEN ACCOUNTANTS AND ECONOMISTS

                                                                             hand, had the award
more than the amount needed to make it whole. On the other
                                                                                            after-tax
been made on the grossed-up amount of !!e pllintif!'s                lost-profitsonan
Uãrirrìf."'pfÀoff iould have receivecl           $S2    (=  $541(1   -  0,34)),.paid    $28 ín taxes,
                       tn thìs example,   the plaintiff   wouldhavebenefited           had'the dam-
und úave 6s,f    1eit,
                             on u pretax busil. the results go in the opposite clirections if
"jà,    ^**aUeenpaid
  - tax rate hêd increased.
the
                                                                                           the:plain-
     An expert who has used a discounted cash flow analysis to evaluate
                                                         to bring  tho¡e   cash   flows   forward   to
tiff ; iosËpfofits will need some       intetest  rafe
                                                                      (This               that the ju-
the time óf the tti¡      frorn the base   point  of  the  analysis'          assumes
                                                                            in:eres i*se€,Ch3Ptgr
risdic tion or particuiar cause of action permits piej yqA'meTi
                                              should     reflect the  value   the plaintiffts fun¿s
ã.1 Àt i.f.,. very teast, this interest rate
                                                     howevet     will  not compensate the plaln-
láJnj"ii"*ii,g       to inflarion. Tlús measut'e,
                                                                                        fact that had
 tiff for the oppórfonity costs of the use of its funds.'fhfs,refers to the
äiå pi"*iiä'r{ot beer.r'denied the        use  of  the   damages     âmo'nt;     it          have ur-
                                                                                    ;'vould
                        unturprir"             in  stock,   perñaps    in the  performance      of the
 vêsted it in   some                lpurhaps
piaintiff fum) and wotid huve r"tuivpd a             retum    on this  amoLtnt'
'Some:expertssuggestusingtherisk-freerate(FisherandRomarne;1990)tomeas-
                                                                        's co$t of caPital,
ure prçjudgment üitãrest. Otñer experts suf,gest using the plaintiff
                                                  plaintiff iof course,  at thispor¡tjhe
iiruiì",ä *îurure of the opporttrnity cost io-the
                                             damáges   are  being   sought).        defen-
defenáant may argue thåt'.o."uqú"ntiai
                                   may  offer   beiier measurê                '.re
                                                                 because it regards    the
Ju.i, ,sirorro*lt g iät", however,            a
ptaintiff ctaim as       *;;;*;;i;íb"tt
                        ""
                                           an involuntary   one)  in the  defenãant'lz


                                                      economic analysis. I¡r both liabiliiy
 {b) Antitrust, Antikust law heavil¡i reiies on
                                                                                      that any
 ànd damages issues, econômic analysis piays srrch an importa¡t'role
                                                          the       would    become   r¡irlually
 ;r";t¡;il#g io consider the economii      aspects    of      case
                                                                 certain  calculatir:ns  has no
 useléss in cJur.t or adnrinistrative hearings.    Performing
                                                            conceqtl.thosc    nurnl.:ers  repre-
 ;;;t       uniess the expert kno:ü/s what economic
 sent anã how they fit into the present    antitrust   framework'"'
  (i) Mergers. 'fhe Department of ]ustice (DOi) aíms to prevent
                                                                       Ínei'gers that create or
 enhance matket      po*.i. tøortt íp*u   ià  ttrå  aUitrty or a firm (or group of firms) to
                                                                         period..The DoJ has
  ;;;;;;i.", obovL the comperitiie tevel.for a significant time               will constitute a
  stateá that a price increasetf 5 percent   for  1 year  in most   contexTs
  ,,smáll but significant arld nontiansitory" inórease in price'Îa The firm (or group of
                                                                            so many sales that
  fir.*f pour"r"ring market power can raise prices without losiirg(Posner'and           Landes'
  *ru píii" increase Uu.o*"', unprofitable     b11 restricting  output
 --
 1981).
                                                                                   markets' As
    Vtà.gu, analysis first defines the relevant product and geographic
 ¿ir.ossi¿ previousty, the study must include            not   only firms.directly   ¡ompeting
                                                                                          prod"
 ;ittr th" pårties invóived in thé merger b*t also firrns producing substitLite
 ucts and   firrns  that wbuld   enter   the ñ-rarket or expand   theiÏ-llrleli ouþut    should
                                                                          defines the relevani
 ihe merged. dirm impose â supracompedtive price.ls Thc DOJ
                                        they  ãct in concert' woulcl  be able to profìtably irn-
 market äs all firrns that, shouid
         ,,rmutt but signíticant and nontraluitory" price increase.ró Note that if tlÌe
 por" u
 änalysis excluded fiims that make suìrstihttes fo¡ tlre-merged
                                                                          firml product, a re-
 striction in output resulting      in a supracompetitive     price *:,tld  PPl"r.on    Paper to
 ú" protit"frfu.   In reality, holr¡ever,  because   customers   would   swiich 1'o the compet"
                                                            3.4   sPÊclHc AREAS OË INTERÀCTION    30   13



                  itively priced substitutes, the suPlacomPetitive.Price level would notbe Profitable'
                  this iame reasoning applies      to the omission of fi¡ms that'ç+'ould enter the market
                  if a supracompetitive Price    were   imposed' -
                       fUving aefined the relevant product and geographic markets, the exPert shouid
                  now mea;ure the concentrafion wiihín the markets to asceftaÍn whether the trans-
                  action will fali wÍiÌrin â safe hârbor r¡nder the DOI's Suidelines. A common con-
                  cen.trafion measure (also cited in the DOJ's guidelines) is the Herfindahl-
                  I{irschman Inclex (HHI). This measure first squares thc percent3ge share of each
                  firm and then compares the sum to preestabiished cutoff points. ^' The comparison
                  i¡volvgs judgment however/ even jn a calculation as simpl€ as this._One can meas-
                  ure mêrËef shares pn the basis of. sales (either doilars .or units), shipments, pro-
                  duction, capacity, or reserves.lÛ The correct meâsure depends on the economic facts
                  of each casã. Once one computes the HHI for the,correct market/ one knows that
                  Àe DOI willnot likely challengc the tra¡saction if the postmerger HFÍI is belo-w
                   i.000, ó; if the postrneiger HHllies,between 10û0 and 1800 and the.merger would
                  proJuce aninórease offess than 100 points, or if the'postmerger HHI exc€eds 1800
                  'urld th" *"tger would pioduce aî increase of less than 50 points.re
                       Even if th; HHI con¿entraûon measure suggests that the merger could reduce
                   competition/,other considerations exist. The DO] prin'rarily challenges melsels out
                   of fear of collusion-that is, fear that the ¡umber of firms will be so few that they
                   couid easily act in concêTt as one gtant firm. Recognieed factors exist, hor^¡ever/ that
                  'facilitate oi prevent collusion among a group of firms, Factors that facilitate coliu-
                  sion include: scarcity Of firrns, barriefs io entry, hOmogenepusproduct,demand in-
                   elasticily, level of indusfry profits, industry social skucture, and sealed bidding
                   (availability of price informåtion). Factors that make collusion difficult,include: ir-
                   regularity áná infrequenc¡r of otders, high fixed costs, 1ow transportahqn costs, fre-
                   querlt teihnotogical r*r¡nge,:and variations in production costs (Brozen, 1982; I{ay
                   and Keiley, Lg74). Af\ expert ma)¡ show that even though one might normally con-
                   sider the concenfration levels within tire relevant market to be high, collusion is urL-
                   irf.Ay; fit* might prefer the gains from cheating or-r a collusive agreemenf0'be-
                            "
                   cause of the presence (or absence) of t{re. fêctors discussed.
          ì;:
                        The gxpert should also considef whether reasons exist for this merger other than
                   the purchase of a competitor's exit. The expert should investigate whether the
          :Ìiì
                   merger wíll,incr"are oulput. If the relevant market has high concentration, an ex-
          't,,ç    pert moy:consider wheÍher allowing the merger of the third.and fotrrth largest
          !t
                   iirms wóuld produce an effective competitor to the industry giants that are the first
                    and second lärgeSt firms. The expert should not neglect, moreover, to perform ef-
                    ficiency studieË that will document ecoRomÍes of scale and scoPe belween the
                    merging Éirms.21
                        Finaþ when the expert estimates damages in cases alleging ihat a merger vio-
                    lated the anhitrust laws, the expert must câusally link his damages measure to the
                    anticompetitive acts cited ìn the complaint.lnBrunswickCorp'rt.Pueblo Botttl-o-Mat,
                    Þrc., theþlaintiff's damages measure was the profits it would have eamed had the
.rDr=               defendant not acquirecl Certain bowling centers and these centers had gone into
    üte             bankruptcy insteid. The Supreme Cburt vacated the lower court's judgment for
a   re-             the plaintiiï on the ground that this clamages measule bore no relation to t{re an-
     to             titrust ln¡ury of whlãh the plaintiff :complalned. The plaintiff would have suffered
                    these injuriås had the acquired centers obtained refinancing or been acquired by a
           INTERACTION BETWEEN ACCOUNTANTg AND
                                               ECONOMIST5
3 o 14

noncrbjectionable parfy (ibíd',  487488).' Thus' an exPert on damag.es issues
                                    pp'
                                                               cornpetition, *ot
;h;;iá   show thaith"'aàmagËJrelate to those acts that injtire
merely to acts that injure a comPetitor'
                             failing-firm defense relates to melgef analysis' However,
(ii) Faiting-Firm Defense. The
ù".u,rrã it invoives such  exte¡rsiíe  financiai analysis, we discuss this defense sepa-
rareh¿ The economic premise for this delense siâtes that the DOJ
                                                                        should â11ow an
;ä;#" ;j;;ù;;tä";"rser             if the firan to be acquired ryt'n1.îth"T1:1n::t-"j
                                                           dominant firm over removrng
business. In íhis situation, the law prefers a sâle to a
          To use thís defense, the owners of
                                             .the      firm,or division tobe acquired must
"-"""itr.
tì;ilä;i.-       *Jø"t ¿ ,,o åth"t buyers who would confinue to iu¡rbuyer          the business'
                                 will nonetheless fail if a less objectionable           emerges'
fnulå**    fi,.,un ial  analysis
                                               shoppi"q      t"9litu,1:ntr   the exP-ert must in-
    Assurning that the merger meets the
.,rustilutu *futher the firm"or division to be ácquired had such lalge losses that tl'Le
                                                                         these losses' Fi¡st' one
           owners will close it rather than continue to incur
".ãr"ît
fü;;*¡,-.; *.," truru of the firrn           or division    and   estiirrate whethe¡ 'fhe future
                     tt                Is competiti'n  inc'easlng    or decreasing? Is demand
will differ from        e rn"en11rast.
                                                                                          thai lhe
              decreasing? bo the firm's competitors have a cost
                                                                    advantage
;;;;t;g      or.
                                                    demor-rstrates  that the future wíIl
fuifi"jfìtä.*not duplicate?    lf a market anålyqis
                                            fin{,the followiqg   rate-of-return  experi-
;üi"r;rg"   from  the past, an expert  may
ment usetul: Using actuãl .u,liflo*t for a five-yeaf P"ii:d "ld T,11r11iC--|1:
                                                             been l<nown tuve years
everything that haã tanspired within this time period had
                                                                    the business' or
;g;;';o,,iä the firm's o#o",', have-electecl to,ocõntinue operating
rüould they have chosen to exit the business?"
                                                                            rehlrns be-
   we use a cash flow rate of rehrrn analysis rather than accor'rnting
                                                     lirms Senefate sufficient  firnds to
cause caSh flows rnore accurately reflect wÍrether
                                           fum that gerrerates.enough cash   to cover its
cover variable costs. In tlre short'run, a
                                                                                              eac'
 variablecostswiili¡eableto,anclmaychooseto,remaininoperation'T¡
                                                                                  other:s as
 .r**rttgãlgarithm labels some casl't oltflows Ås ,Frerøtín,.ex,tenses.and imme-
                                                       fiorn  each  yearis  income
 ,iøia ,:rprüitires' lr ded.ucts operáting  expenses
 ãiutay Uut depreciates capital expendiúúes accprdín8.to a
                                                                  s,c,h1.{9i1:ï" Ot O*
                                                                    will reflect some cash
 u..ouit"rrt. eå u ,"sult, the accounting return orL inveãiment
                                                wili                     macle during the
 expenclitures made in pä"i""r p-tioå,     urrd      not  refiêct  some
 ;,å;ì ñ;å,-n                      the reported accounting book value of the assets may
 not accurately reflect the asset's market value'
                    "J¿itio",
                                                                                       r ^¡
                                                                       - - ---- !i.- - clefinition of
                                                                  the accounting
   One can avoid the prãUt"*r associatêd with using
                                                          teq-uq          that incor-
 refum on investrnentty using a cash flow internal¡ate-of          $nn)
                                                      IRR is the           rate "that
 porates the market o. *åtuåg;udue of ihe assets. The            ',rterest
                                              expectedfrom    an invesfment     equai
 will make the present uãt,rãot cash proceeds
 i; tiõresil iut'" or ir"'" .u'h outlal'srequi'* l{.thu "",:'Tïï        glli*u." uo¿
              g0).                  Une irui is that discount
                      In other wordà,                         rate lhat makes the net
 SJ¿t,    igSO, p,
 ptÃ*t "4"å     of tte project equal to zero (Brealey i"dyT:t:f
   The cxpert   .ur, .or-r.,päru thå fi¡m.s IRR to the iate of retum ']u^u'!:O!)
                                                                        the firm could have
                              investments of similar risk to ascertain whether.the fir¡n
 "rrä;ìã;h*;;tli
 would have chosen to **it tt. busíness at the beginrring
                                                                   date <lf the analysis had
                                                       the  firm's rehrm on an alternative
 the frrture been known. If     ihe firm-s iRR  equals
                 similar   ri[s,  the firm neithei profited  nor lost from its operatiorx' I{
 investrnent of
                                                                             of similar risl<s'
 the IRR is less than u." ri*,'t retum
                                             ()n aliemative   inveshnents
                                          3.4   5PËCIFIC,AREAS OF   INTEnACnoN 3 o   15


 then the firm would have been better off withdrawing.23 ln the extreme case, if an
 exisLíng business has a caslr flow with a negative IRR, tìre firm not only made less
 than it could have earned elsewhere, it diminished the value of its original invest-
 ment as well.za In such a case, obviousty the firm would improve its position by
 shutting down the business and seiling out rather tha¡ rurming it and continuing
 to generate negative cash flow
    To calcuiate the IRR of a business, the gxpert should measnre each year's cash
 fiow. Generàily; an.experFwill adjust a firm's financial statements to a'cash basis
 by, for example, adding noncash iiems,.such as depreciation, back to income. The
 expert will also need to subtract the acfual cash spent on capital invesh'nent (net of
 thei¡ tax effecls). Although the expert will not include any financing effeqts in the
 analysis (e;g., interest payÌnentsron firm debt), the expert should include a charge
 for tlie change in the level of working capital used in operalions. The experi should
 ds the analysis on an.after-tax basis because tax effects, such as the use of one di-
'vision's losses to offset the profits earned by another division, may alter theresults
 oT the anaJysis. The expert may aiso revise the analysis to remove the effects of ex-
 traordinâry events, such as inüestment in a major proiect or the,effects of a'reees-
 sÍon, to disprove the notion that the underþing bùsiness is sound but that a large
 investment ih an unsuccessful project or economic conditiorus that no longer exist
 caused the firm's difficulties,
    The most difficult part of the IRR analysis requires estimating the amounts of
the beginning and ending flo$/s. Because the expert needs to ascertain whethet the
oi,vners would havç abandoned:the firm had ihey known the future, the begirrning
arrd ending flows shotrld.teflect what the firm could expect to have received upon
abandonment five years ago and what ihe firm could erpect to receive upon aban-
donment at present hr other words, what.v/as the value of the assets at tlrèir next
best alternative rrse five years ägo outside the indushy in which the assetÊ are cur-
rgntly employed, and what is tñat.va-iue today? The e¡pert should ensure that fhe
analysis includes all unrecorded liabilities. For example, iarge uruecorded pension
or environmentál cleanup costs may compel the,owners to confinue operating with
minimum losses ra{:her thun pay the iarge lump sum reguired imrnediateþ upon
abandonment. Again, one.should calculate these begÍnning and ending flows after
taxes, becausg the owners can deduct losses asÞociated with writing down assets
from the firm's othêr taxable income, Finally, ìf the price       exceeds the acquired
firm's salvage välue,,1þs.sxpert may want to provide an analysis of ihe acquirerts
price (e.g., relating price to cosi savings that will accrue to the acquirer because of
efficiencies). Otherwise, questions such as why the acquirer is paying more for the
whole busihess,than the sum of thê values of its individual net assef.s may und.er-
mine the eniire analysis.
              Pricíng. Predatory pricing is pricing a firm's products below cost with
(iii) Predatory
the intent of driving one's competitors from the market and thereafter raising the
f.irm's prices to a slrpracompefitive level.'" Predatory pricing constitutes an offênse
under Section 1, (unlawfui res{raint of trade) and Section 2 (monopolization o¡ at-
tempt to monopolize) of the Sherman Aci and Seciion 2(a)_of the Robinson-Patman
Actldestroying competÍtion orelirninating a competitor).26 Althoughmany courts
agree with the stated definifion, coüunentators disagree on lhe appropriate cost
measulc to use to calculatc below<ost pricing in an antitrust analysis.z/
3   O   16   INTERACTION BETWEEN ACCOUNTANTS AND ECONOMIST5


    Professors A¡eeda and Turner proPose the most widely used cost standard in
their "Predatory Pricing and Reiated Practices tader Section 2 of the Sherman Act"
88 Haru. L. Rea, 697 (Areeda and Turner, 1975) and lafer published as part of án'
titrust L,aw, para.7\I-722 (Areeda and Turner, 1978)-¿ö T'he authors sef theír ideaì
nonpredatory Standard at a price above reasonably anticipated slrort-rul marginal
costs. Thqy recognize that analysts seldom have marginal cost data, liowever, so
thaf a first appfoKimation price above the reasonably anticipated avelâge variable
cost should Èå presumed lâwfui.ze Nevertheless, cou¡ts have held other cost meas-
ures relevant to fhe quesiion of whether the defendant engaged in predatory pric'
ing.30 The details of the particuiar case may determine the relevant cost analysis,
Although an average variable cost anaiysis may be appronyjate for a firm already
in the market, it may be inappropriate for a new enfrant who ¡nay have to engage
in promotional pricing to gain cústomer loyatby, a'capífal asset that a long-tirne
cornpetitor already possesses,
    Even when the anaiyst has decided on the relevant cost measure, impQrtant as-
pects öf the analysis stìli remain. For eXample, if the predatory claims relate to a
síngle division (or producQ-,of a multidivision (multiproduct) firm, the expert
neeãs to consider joint'costs.3l The fime fraine over which tfie expert analyzes the
fírm's costs as fixed or variãble beco¡nes irnportant: The shorter the time period,
the fewer the variable costs. The exPert çhould consider whether to anaiyze costs
that vary as production rises and falls within some out?ut range or whether to
measure costs that vary as Production falls to zero (going-concern versus'shut-
down analysis). For a firm thathas iarge cosis associated with producing one unit
that do not increase with the productÍon level (zero-one costs), the level over which
costs are measured as variabie could:determine the case.3z
    Important as cost estimafiort r1lay appear in predato¡y pricing analysis, markei
analysis also has an equally, if not more, signifiçant role; A firm engagÍng in suc-
cessful predatory pricing and its anticomPeLitive effects must be able to recoup its
losses; that Ír, it must obtain and retain markel power'.ß if the firm carulot absorb
the market shares of its competitors that have failed, demand wiii remain for the
surviving competitors with higher prices, arrd tl're firrn will have injured itsellt'o no
avail,s Similarly, if barriers to entry do not exist, the firm that has driven all pres-
ent compefitors from the market by predatory :pricing will soon find it has yet an-
other set of competitors and that it cannotmaintain suprâcomPetitive prices for the
period of time needed to recoup the losses it has infticted upon itself." If the plain-
tiff and defendant compele along their full productlines, ihe analyst should not ap-
ply a cost test to a single product li¡e, because comPetitive injury wil.l not occur in
the relevant market even iÍ the seller priced that product beiow cost.""

(c) Securities Laws. Securities cases show the influence of economic anaþis.
Many developments have centered around fraud-on-the-market câses. lnBasic Inc.
a. Leainson, the U.S. Supreme Court cited academic siudies that sl-Low that the price
of a widely traded stock reflects all publicþ available info¡mation about lhat stock,
demonst¡afng that markets are efficient."'
    Accordíngiy, a plaintiff who can establish that a false, misleading, or omitterl
statément has af{ected the stock's price may be entitled to recover the differencc be-
fween the stock's achral value and true value (i.e., the value the market would have
reached had the trtrih about the firm been known).e8 The expert in such cases wìll
consider whether the true value of the stock differed from the achlal value.
           :tjì'- .'




                                                                                                     NOTFS      3.17
      in                     Many academic empirical studies have demonstrated that movements in the
   Act"                  overall market explain a síg:nificant portion of a stock's price movement. (Brealey
iioÍ An'                 and Myers, L996, pp. 143-166; Copeland and Weston, 1988, pp. 793-240; îama,
   ideal                 1976, pp.41-132). Based on these studies, experts have constructed stafisfical mod-
                         els (regression equations) that predic,t stock.price movements. Using stock price
                         data Érorn a time period prior io ihe period of interest, the expert mayiaiculaie the
                        rélation befween the retum on a particular firm and the rehrrh on a market index
                         (e:g., S&P 500). The expert uses thís regression relation (market model) ând, the ac-
                        tual market ref,um durihg the perlod of interest to predict the particuiar stock's re-
                         hrm. With 4 iarge enough difference between the actual value and the predicted
                        valüe, analysts consider the firm as having experienced a stafistically significant
                        abnor.mal return, Moreove¡, sorne acadernics have âdvocated the use of a compa-
                        rable inde¿ ín addition to an eventstudy approacþ to determine Whedrer the true
                        value of the stock difie¡ed f¡om the actual vãlue (Cornell ancl Morgan, 1990),
                            By combining the efficient market theory and the market moãel, experfs can
   .1o a                study the effects of i¡tormation on a stock's price and ascertain whether tire effects
       t                were materiâl (Fischel. 1982).1òr example, the,expert may compare the actual and
    the                 predicted retum of a firm's stock when management discloses corrective informa-
                        iio¡. This conrparison'will help to esfimate whether any abnor.mal declines in
                        value occurred relative to the stockis predicted value at the time an alleged false-
                       hood, misstatefnènt, or omission was corfected. If no abnormal change occurs af-
                       ter management publicly discloses the correckive information, the inforrnation is
                       immaterial,,and fhe court shouid fûrd no liabÍlity,
                            ïhe expert can use this:same methodology to quantify the amount of darriages
                        (assuming liabiiity). For exampie, the plaintÍff may allege that the defendant omit^
                       ted cgrtain infgrmation fËom qq annual repo¡t and ihat when the defendant pub-
                       licly released tire information subsequently; the stock price dropped. The expert's
                       analysis might attribute any abnormal negative refums occurring when ,rhe firm
                       released this irr{ormation solely.to the release of the information and then esLimate
                       what the stock{s price would have been had these,abnornral negative refiri'rrs ûc-
                       curied.earlier (i.e., wheh the plaintiff alleges disilosure sliould have occuned). Un-
                       der this Fype of analysis, thelplaintiff who owns stock would be entitled to recover
                       only if the plaintiff tiought when the,actual price exceeded the predicted price (or
                       frue value). on the other hand, a plaintiff who sold the stock in quesfion could re-
                       cover only if the predicted 1:rice (true value) exceeded the actual price at the Lime
                       of sale. In both cases. the âmount of damages relates to the difference l¡etween the
                       ach¡al value and the true value, See Chapters L7 through 20 lor more discussion on
                       securities iitigâtion.


                       NOTES

                       f-. We forego a detailed cxplanation because othe¡'chapters i¡r this 'uook discuss regrcssion
                       analysis. see also l;isher, "Ñ,fultípie Regression in LegaÎ Proceedings," 80 colunt. L.."Reu.702
                       (-t'lsher, 1980), fot a ¡nore complcte explanation of thè conslructionand rrse of regressions.
                       2. See Section 3.4(c), "Secur:ities Laws," for a discussion of this point.
                       3' Iftwovariables(e,g.,thepricesoftwoproducts) aresironglycorrelatedandone.obse¡ves
                       a change in one of the variables, one will expect to see a chãnge in the othe¡, lf this charrge
                       in the second variable moves ín the same di¡ection as the firsi ihe variablcs are positive'þ
                       correlated.If the change ilr the secorrd varÍdblemoves in the opposite direction, thdvarìabìei
3ç     18     INTERACTION BETWEEN ACCOUNTANTSAND ËCONÔMISTS


are nesativelv correlaled. If a change in the first variable resrrlts in random flucfuating
change"s in i¡á second, the two varia6lcs are unco¡related and have no sfrong relaiionship,
4. See Section 3.4(a), "Measurement of Lost Profits," for a discussion of this poínt'
S. Capítal market risk results from economywidrc fectors that generally'o-enefit or threaten
a.ll businesses.
                                    ;rt par are the amounts of   jntefest exPense and interest paid
6. Onty when bonds are issued
the same,
7. See aiso Chapter 7 in tlús book.
B, The presence of ioint or co-products in the analysis will also have implicaüons for miti-
gation. ìv{inimizing the losses for one product and mínímÞing a division's losscs may result
in two different sets of actions.
9. Mosf patenis have a legal life of 17 yêars. Their éffectíve lilãr howeveç rriay be less if the
markei häs frequent tech-ñological.chaiges or one can easily design êround the patent.
10. See Chapter 7.
11. See Chapter 14.
12. Pateil, weil, and wol{son, "AccuniulatingÐaña8es in Litigalion: The Roles of uncertainty
and lnterósi Raies," n!. of Legat StudiesMI (1982). Note that úre defendant's inte¡egt rates used
to bring the <ìamages io þreõer1t value_st.-t l4 ¡ç lhc.effective after-tax rate to reflect the reaü'
ries of tire plaintiffTs alteåaüve uses of cash. To do otherwise would have investmen-ls in dárn-
age ciainuï g1ow rnore rapidly than real inveslxnent$ of sirnil¿r¡ risk. The final amor:.nt, of
cðurse, shoüld be "grossèå upt' by the plaintiff's tax rate, as discussed previously'
1.3.   SeeRosenfield,"TheUseofEconomicAnalysis:inAntifrustandSecuritiesLitigation,"I   'economics
Colunt.  L, Reu. 49 (L986), for a deiaíled discussioir of the widespreacl influence of
ifl antítrust analysis.
14. U.S. Dept. of Jusrice , Merger Guidetines,4g Fed. Reg' 28' 823 (1984)'
15. Sce SecLion 3.2(b) for a discussion of market defínition'
16. U,S, Dept' of Justice, suPra,
17. Afirmthathad L0percentof the:narketwouldfiaveanllH[numberof_J"00:(10 x 10 =
100). A n-rarket that had 100 firins with a 1 percent share would have an lIHl of 100' Ä mar-
ketïith one firm woulcl have an HHI of 10,000 (100 x 100),
18. tI.S.Dept, ofJustice, supra.
19. Ibid.
20. See.C. Stigler, "A Theory of Oligopoly," nThe Organizatiotl of Ittdustry 39 (1968) fOr a
more completé discussion of modern collusion tlleory.
21. With óconomies of scale (i'e" increasing returrs to scale)' a fi¡m can incrcage producriv-
ity or lower average costs of prOduction by inu'easing production. For. example, if a firm in-
cieases inputs by i0 percent ãnd iotal outPut increäses by more tnal lp pe;rcent, the fum is.
¡eitur o¡f in¿itft ilie Nlher production (assùming that pricedoes not fall)'With economies of
scope, a firm can achievc iower costs by produðing mtrltiple goods together, For exarnple, a-
firm tirat procìuccd both clocks and wátähes mighl be móre efficient ihan two firms, one of
which mdde clocks and the other of which made watcìres, because the firbt firm could sliare
industryìpecific knowledge and machinery across boi:h Ploduct lines (Samuelson and
Nordhans, 1992, p. 735).
2-2. The choice of a five-year fime period is purely arbifrary. The facts g{cach índiuidual case
wjll determinc the apprópriate peiiod to use. if the future appears to differ from thc pasl the
cxpert will do the sáire type of analysis, only with-projected cash flows. Of course, this ex-
pe'riment may not be as siiong as the first beóause tli.e proiected cash flows are less reliable.
ã3. Anexpertrnayfindtheafter-taxrehü-nonU.S,govemméiltsecurities'tobeausefuland
 conse¡vative b"nih*"rk, bu.ause people may dísagree on what return the firm could expect
 from alternativc investments of símitãr riskð. Certãinly a firm that earns less than it could
 from invcsting in risk-free gove¡riment secnritìes would be better off withclrawing fiom ifs
oPerations-
2Á. For example, if the IRR is -10 percent, a¡r initial investment of $100 wi.ll be worth onJy
$90 at the end of the year.
             {:.'."




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                       {i993), the Supreme Courf declined to resolve the conflict among the lower courts concern-
                       ing the appfopriate cost standard m a predátor.ypricing case because the parties agreed that
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:ìl
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                      32. Remarké about cpst estimation made previously in this chapter also apply here-
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 Refining Netbacks: Outages Buoy Margins




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  Refining fortunes cont¡nue to improve in all thnee key proeessing aenters as outages -- both planmed and
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  mtnth. Gasoline-rlch h{igerian Eonny Light arrd North Sea BrenÉ are doing evem [¡etter as US ref¡Êìers strulggle
  to build up summer fuel tanks while meet¡ng úhe bumper gaso¡ine denramd that's arr¡\red alreâd of the peak
  driving season (p&). $pring turnarounds mây be over, but [..1S refinens are sfil! havlng trouble bringlng nums
  back above 9O% of capacity, rnainly because of a spate of umplanned shu¡tdowns. Giant lndustries'26,000 barrels
  per day Ciniza refinery in New Mexico triggered another gasoline rally after a fire broke out in a gasoline unit on Apr. B. Other plants
  to suffer problems in the last few weeks include Exxon Mobil's 360,000 b/d Beaumont refìnery in Texas, Royal DutchiShell's 110,000
  b/d Wilmington plant in California, BP's 460,000 b/d Texas City refinery, as well as Koch's 286,000 b/d Flint Hills plant in Minnesota
  and Sunoco's 90,000 b/d plant in Tulsa, Oklahoma. Since most of these unplanned outages have been on the US West Coast,
  refiners still operating there have enjoyed margins some three times higher than their poorer cousins in the East.

  Valeror the U$' largest independent reflner, is on a Eñission to persuade Watl Street ¡'¡¡vestors to n¡aüse a !ong-
  term comrnltment to the refining sector. Most analysús súi!! advise investors fo buy refining stoeks In Éhe fali
  and to sell them i¡r the spring, seeing no reason to hold Éhe shares as long-tern'¡ inves*¡me¡rts hecause oS the
  sector's vola{ile history. But with the exception of 2002, when the economic fallout of the Sep. 11,2001 , terrorist attacks wiped
  out product demand in the US, Valero has posted record profits every year since 2000, and during that time its shares have
  consistently outperformed the S&P 500 index. Valero Chairman Bill Greehey says analysts are "stuck in the past" and ignoring ihe
  sweeping changes in the US downstream such as increasingly constrained refìning capacity and a movement toward clearr and
  boutique fuels over the past four years -- factors that have created a new era of durably stronger refining margins. Meanwhile,
  analysts claim that refinery shares have peaked and they are betting that US refining margins will crumble.

  Fleavy spring turnarounds helped bootstnap Ëuropean refünüerg margüms, Ëven so, bemahmark ffirenf stllü [c¡ses
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  to a $'t/bbl profit, thanks mainly to recent            spiE<es in Ëuropean diesel prices (El). Germany's largest refÌrrery, the
  310,000 bid Miro plant at Karlsruhe, in which Shell, Exxon, Ruhr Oel and ConocoPhillips have stakes, has just restarted from a six-
  week turnaround, during which time Total's nearby 212,000 b/d Leuna refinery and Total/BP's 210,000 b/d Schwedt refinery have
  also been offline. Regional refiners may need to rethink their usual turnaround schedules if US summer gasoline demand continues
  to start so early in the year. Traditionally, refiners have tried to take advantage of the lull between winter heating oil and summer
  gasoline demand to shut down for maintenance. Less than 5% of Europe's nameplate capacity is expected to be offline next month,
  versus 10% in March and April.

  ¡Asian refinens are only just starting their usua! secornd-qularter rna!¡'ltenamce, But sür¡.¡tdowns, s€,ffiie of tü'¡e¡r¡
  volunta!'yr are already beginning to affect rnars¡úîs. Dubai crude iust about breaks evem i¡¡ a Slmgapelre
  reformer, a ¡narked improvement on the $1 .50/bh$ loss it made thls time last mc¡ntEr, Japanese refiners are shaving
 back their throughput rates in April. Nippon Oil, Japan's biggest refìner, plans to run its plants at a combined average of 1.09 million
 bid in April, down only marginally from 1.11 million b/d in March. But No. 2 refiner ldemitsu aims to run its plants at a combined'
 434,000 b/d in April, a decrease of 44,000 b/d from March and 24ok below year-earlier levels. Both Çompanies cited weaker demand
 for fuel oil from Japanese utility Tepco, which ¡s bringing more nuclear plants back onl¡ne, a signifìcant factor in the decision to
 reduce tlrroughput rates (p10).




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                    O   Gomments

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 From staff and wire reports
 April 1. 2004, B;20Plv1
                                                                                A naphtha processing un¡t caught fire at the Exxon Mobil chemical
                                                                                plant in Baytown early this mom¡ng, bul the blaze was under
                                                                                control in an hour, a company spokeswoman said.
   sE Del.icîo.us                         ;{'i utgg
    {: Tw¡tter                            ffi    Facebook                       The incidentin a "naphtha rerun unit" occuned at 1:30 a,m. CST,
                                                                                said Exxon Mobil spokeswoman Tricia Thompson. She said it was
    S'                                  F]      Ema¡t                           not an explosion, just "a fire and a noise."

                                        *E't you   rtrommend The fire was out by 2:30 a.m. CST, Thompson said, and there                     were
 lilR"-¡;d¡i                                 il ¡r. unão . Ãá;¡n "no d¡scernible emissions" and no one was ¡njured.
                                              Pôoe lnsiqhts'Err
                                                                    -. unit was shut down after the igniter for the natural gas-flÍed
                                              yði'l*ìrñiinui¿ l¡i¡l The
                              Confìrm
                                              Uptoseewhatyour furnace on the un¡twentout, Thompson said. The ¡gniter is like a
                                              Íil*i-, ¡rn¡. , pilot light for a home water heater. \{lren the naphtha rerun un¡t
                                               detected the igniter was off, ¡t aulomat¡caìly shut c¡ff the flow of
                                               natural gas to the un¡t's furnace, l-hompson said. A small fìre
 caused by residual natural gas in the unit was quickly extinguished, she said.
 "There is no indication of foul play," Thompson saíd.
 Other units atthe chemical plant continue to operate normally as does the adjoining 525,000 barrel perday                                               Most read
 Exxon Mobil refinery, the largest ¡n the United States.
                                                                                                                                                         Fearland man sentencecl to {2 years !n              I
 This is the second incident at a rellnery/chenical plant complex in Texas this week.                                                                    6hild porn case                                     I

 On Tuesday night, an ultrâformer at BP Plc's 460,000 bpd relìnery in Texas C¡ty blew up and burned. Tlre cause                                          Âffielåviti ¡1flãssing wornaft 'sÉrung up' ôn
 of that blast is believed to be accidental.                                                                                                             qlee¡'rack                                          I
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 BP sald the Texas City refinery was operating at near normal rates Wednesday.                                                                           conros parenÉs jå¡led ¿¡fter 5-wêek-old
                                                                                                                                                         suffers broken iréck
 The U.S. Federal Bureau of lnvestigation warned refìners in Texas last week of an unsubstantiated threât to
 attack a ref¡nery ¡n the state before the U.S. nat¡onal elections in Novemlrer.
                                                                                                                                                         'Lucky winner' at Astros game leárns
                                                                                                                                                         noth¡ng ís free
 Refiners have been constantly increas¡ng secur¡ty at their plants since the Sept. 1 1, 2001 terrorist at{acks.                                          Woman who helped Texas escãpeë ã¡$o
 Chronicle rcpofter C¡ndy llorswell and Reufers News Service contributed to thís report.                                                            i    faces charge
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                 Radiation levels appeared to subside by evening, but unease remained as Japan tries                                                I                                                            i

                 to recover from the quake-tsunami crisis.                                                                                          I Peartand clrasc cncls ¡n cr'êsh, arrest
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           .     The Vampire Diaries: He clearly said 'to blave'

                 The Vampire Diaries 'The Dinner Party" February L7,20tI The C\{You've been
                 mostly dead all day. Score: Vampires 46; Humans 30;.,.

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                           lawmakers and others to slow down the much vaunted,...
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Coast Guard responding   to major oil spill in the Neches River



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                                                                                                          Date:Aug. 2,2004
          Wrmffis Kmåmffisffi                                                                             Contact: Lt. Ian Bird
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          PORT ARTIIUR, Texas                  -   The Coast Guard, along with other state and local agencies, is respondiüg to an
          estimated 30,000-gallon fuel oil spill in the Neches River,


          TIre spill occurred at approxintately 12:20 a.m' today when a barge struck and pielced the starboard
                                                                                                               fuel tank
                                                                                                                  The Coast
          of the tanker Torrn Mary.The Tonn Mary was aI the Sun Anchorage for a loutine refueiing operatiot,.
                                                                                                          the Naval l{eserve
          Guald has closed a section of the Neches River fiom Buoy 42 (ir-rst north of DuPont plant and
          Fleet) to the Veteran's Briclge.


          A Coast Guard broadcast ¡otice to marilers has been issued to infot'm the local ship traffic of the river closure'
                                                                                                            Coast Guard
          The Sabine pilots association and barge companies have terminated all river traffic to the al'ea-
          Mari¡e Safety Office Port Arthul is on                  soene, pursuing cieanup and monitoring operatiorrs. Federal funding 1ìom

          the National Pollution Funds Center (lrlPFC) has been authorized to olßet costs'


           The Tr¡rm Mary is a 528-foot Danish-flagged tank sirip carrying Eurograde Gasolìne'


          The Coast GLrarcl is investigating the cause of the incident.



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Coast Guard responding to major oil spill in the Neches River

         The NPFC web site is lrttp :/irvlvrv.u             scg. rni   liliclll   p   k/inclex'him




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Update 7 - Neches River open to ¿ll tral'fic


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                                                                                                 Date:Aug 11,2004
  Press R.elease                                                                                 Contact: Lt. Ian Bird
                                                                                                 (409) t23-6s09 x262


                                  U['DAT-E 7 - NÐÜlåES R{V}X}q. OPÐN 'T{} ,4{,T,'ilRÁ}'F'IC


 PORT ARTHUR, Texas -- The Neches River has been reopened to recreational boaters as of 7 a.m. today.

 The Neches River had been partially closed and limited to restricted traffic since Aug. 2 when the tank ship Torm Mary was
 struck, causing a25,2)}-gallon oil spill affecting 28 miles of the Neches River shoreline.

 The Neches River is now open to all traffic; however, boaters are aslced to slow down and use caution when transiting the
 zu'eas between Unocal and Motiva where cleanup efforts contirrue. Heavy wakes from passing boats can create unsafe
 conditions for cleanup clews. Thc Coast Guard will be patrolling the area to eusure that boaters operate theil vessels at a
 slow, safe speed and stay away from cleanup crews and equipment.

 Pofi Neches Park remains temporarily closed while cleanup operations continue.

 Cleanup costs rise as river clean np continues, and the latest figules 1Ì'om the unified command put the cost at apploximately
 $5.8 million.

 A claitns nurnber has been         set up for anyone who has had his or her proper"ty darnaged by the         oil spill; the number is (888)
  8s0-8486.

 If anyone observes any oilecl wildlife, they are requested to imrnediately contact the Texas Parks and Wilcllife at (2Bl) 842-
 8100. Please do not aftempt to capture any wildlife.

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